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                                  Exhibit C
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          Transcript of Hao-y Tran
           Froemling, Designated
              Representative
                               Date: October 4, 2018
                       Case: El Hady, et al. -v- Kable, et al.




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                                 Transcript of Hao-y Tran Froemling, Designated Representative                          1 (1 to 4)

                                                 Conducted on October 4, 2018
                                                              1                                                                      3

 1                  UNITED STATES DISTRICT COURT                  1                A P P E A R A N C E S
 2                  EASTERN DISTRICT OF VIRGINIA                  2    ON BEHALF OF PLAINTIFFS:
 3                        ALEXANDRIA DIVISION                     3         CAROLYN HOMER, ESQUIRE
 4     - - - - - - - - - - - - x                                  4         GADEIR ABBAS, ESQUIRE
 5    ANAS ELHADY, et al.,        :                               5         LENA F. MASRI, ESQUIRE (via telephone)
 6               Plaintiffs,      :                               6         COUNCIL ON AMERICAN-ISLAMIC RELATIONS
 7       v.                       :   Case No.                    7         453 New Jersey Avenue, Southeast
 8    CHARLES H. KABLE,           :   16-cv-00375                 8         Washington, DC 20003
 9    Director of the             :                               9         (202) 488-0833
 10 Terrorist Screening           :                               10
 11 Center; in his                :                               11 ON BEHALF OF DEFENDANTS:
 12 official capacity, et         :                               12        ANTONIA KONKOLY, ESQUIRE
 13 al.;                          :                               13        CHRISTOPHER HEALY, ESQUIRE
 14              Defendants.      :                               14        UNITED STATES DEPARTMENT OF JUSTICE
 15    - - - - - - - - - - - - x                                  15        1100 L Street, Northwest
 16              Deposition of Hao-y Tran Froemling               16        Washington, DC 20005
 17                          Washington, DC                       17        (202) 514-2000
 18                     Thursday, October 4, 2018                 18
 19                            10:40 a.m.                         19
 20    Job No.: 209464                                            20
 21    Pages: 1 - 107                                             21
 22    Reported By: Katy M. Zamora, CRR, RMR                      22




                                                              2                                                                      4

 1         Deposition of Hao-y Tran Froemling held at the         1      A P P E A R A N C E S      C O N T I N U E D
 2    offices of:                                                 2    ON BEHALF OF DEFENDANTS:
 3                                                                3         CONSTANTINA GLOVER, ESQUIRE
 4                                                                4         RACHEL MANN, ESQUIRE
 5              U.S. Department of Justice                        5         U.S. CUSTOMS AND BORDER PROTECTION
 6              Civil Division                                    6         U.S. DEPARTMENT OF HOMELAND SECURITY
 7              1100 L Street, Northwest                          7         1300 Pennsylvania Avenue, Northwest
 8              Washington, DC 20005                              8         Suite 4.4B
 9              (202) 514-2000                                    9         Washington, DC 20229
 10                                                               10        (202) 344-3694
 11                                                               11
 12                                                               12        JENNIFER GREENBAND, ESQUIRE
 13                                                               13        KEVIN HOULIHAN, ESQUIRE
 14        Pursuant to notice, before Katy M. Zamora, CRR,        14        KATHLEEN GANNON, ESQUIRE
 15 RMR, Notary Public in and for the District of                 15        U.S. DEPARTMENT OF HOMELAND SECURITY
 16 Columbia.                                                     16        TRANSPORTATION SECURITY ADMINISTRATION
 17                                                               17        601 South 12th Street
 18                                                               18        12th Floor, East Tower
 19                                                               19        Arlington, Virginia 20598
 20                                                               20        (571) 227-4294
 21                                                               21 ALSO PRESENT:
 22                                                               22        JOSEPH VELAZQUEZ, Videographer




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                             Transcript of Hao-y Tran Froemling, Designated Representative              2 (5 to 8)

                                             Conducted on October 4, 2018
                                                          5                                                            7
 1                       C O N T E N T S                      1      THE VIDEOGRAPHER: Okay. Would -- the court
 2    EXAMINATION OF HAO-Y TRAN FROEMLING          PAGE       2 reporter today is Katy Zamora representing Planet
 3     By Ms. Homer                                6
                                                              3 Depos. Would the reporter please swear in the
 4
                                                              4 witness?
 5
                                                              5 Whereupon,
 6                       E X H I B I T S
                                                              6            HAO-Y TRAN FROEMLING,
 7                (Attached to the transcript)
 8    FROEMLING DEPOSITION EXHIBITS                PAGE
                                                              7 being first duly sworn or affirmed to testify to the
 9     Exhibit 1 Notice of 30(B)(6) Deposition     8
                                                              8 truth, the whole truth, and nothing but the truth,
 10    Exhibit 2 Froemling Declaration             19         9 was examined and testified as follows:
 11    Exhibit 3 Quiet Skies Program Description   58         10     EXAMINATION BY COUNSEL FOR PLAINTIFFS
 12    Exhibit 4 NPR Story                         101        11 BY  MS.  HOMER:
 13                                                           12 Q Okay. Ms. Froemling, I deposed you as a
 14                                                           13 representative of the TSA back in March, correct?
 15                                                           14 A Correct.
 16
                                                              15 Q You remember that?
 17
                                                              16 A Yes.
 18
                                                              17 Q And so you remember generally how a
 19
                                                              18 deposition works?
 20
 21
                                                              19 A Yes.
 22                                                           20 Q Okay. You understand you're under oath?
                                                              21 A Yes.
                                                              22 Q Is there any medical or other reason
                                                          6                                                            8
 1              PROCEEDINGS                                   1 preventing you from providing truthful testimony
 2       THE VIDEOGRAPHER: Here begins disc number            2 today?
 3 one in the videotaped deposition of Hao-y Tran             3     A No.
 4 Froemling in the matter of Elhady, et al.,                 4     Q Can you turn in your binder to what's marked
 5 v. Kable, et al., in the United States District            5 as tab one.
 6 Court for the Eastern District of Virginia, case           6               (Froemling Deposition Exhibit 1 was
 7 number 16-cv-375.                                          7  marked   for identification and attached to the
 8       Today's date is October 4, 2018.                     8 transcript.)
 9       The time on the video monitor is 10:40 a.m.          9     Q Do you recognize this deposition notice?
 10      The videographer today is Joseph Velazquez           10 A Yes.
 11 representing Planet Depos.                                11 Q Have you seen it before today?
 12      This video deposition is taking place at             12 A Yes.
 13 1100 L Street, Northwest, Washington, D.C.                13 Q Are you prepared to testify on behalf of the
 14      Would counsel please voice identify                  14 TSA on the three topics listed on this notice?
 15 themselves and state who they represent.                  15 A Yes.
 16      MS. HOMER: This is Carolyn Homer with the            16 Q Okay. As an initial matter, Ms. Froemling,
 17 Council on American-Islamic Relations representing        17 the Federal Air Marshal Service is the subcomponent
 18 plaintiffs; and joining me shortly will be Gadeir         18 of the TSA, correct?
 19 Abbas, also for plaintiffs; and on the phone is Lena      19 A Correct.
 20 Masri for plaintiffs.                                     20 Q Okay. And the TSA has the authority to
 21      MS. KONKOLY: Antonia Konkoly for the U.S.            21 direct the actions of the Federal Air Marshal
 22 Department of Justice for the defendants.                 22 Service?
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                      Transcript of Hao-y Tran Froemling, Designated Representative                 3 (9 to 12)

                                      Conducted on October 4, 2018
                                                    9                                                          11
 1     A Correct.                                          1    Q What is suspicious activity?
 2     Q Okay. Ms. Froemling, does the TSA engage in       2      MS. KONKOLY: Objection insofar as that
 3 intelligence collection on passengers in airports?      3 answer -- the complete answer would call for any
 4     A No.                                               4 information protected by SSI. You can answer to the
 5       MS. KONKOLY: Can I get an objection?              5 extent that you can.
 6       MS. HOMER: Yes.                                   6    A So related to as -- our Federal Air Marshals
 7       MS. KONKOLY: Objection insofar as the             7 are law enforcement officers, and they are trained
 8 complete answer would call for information protected    8 to observe activities of passengers and securing the
 9 by SSI. You can answer the best you can.                9 cabin of the aircraft, as well as to secure the
 10 A No.                                                  10 aviation security.
 11 Q What is Federal Air Marshal special mission          11     They are looking for, as part of their law
 12 coverage?                                              12 enforcement activities, any activities that may
 13 A So --                                                13 potentially cause harm or endanger the aircraft or
 14      MS. KONKOLY: I'm sorry. Objection insofar         14 passengers and crew. So their suspicious activity
 15 as the complete answer would call for information      15 would be actions that seem out of the ordinary or
 16 protected by SSI. You can answer insofar as you        16 anomalous behavior, something that could potentially
 17 can.                                                   17 endanger.
 18 A So the Federal Air Marshals are charged with         18 Q If a Federal Air Marshal observes suspicious
 19 the mission of securing the aircraft for aviation      19 activity, do they document that in a report?
 20 security and protection of passengers and crew. So     20     MS. KONKOLY: Objection insofar as the
 21 part of their -- their mission is to be on board       21 answer  calls for any information protected by SSI.
 22 flights, and that includes special mission coverage    22 You can answer to the extent that you can.
                                                    10                                                         12
 1 when they are assigned to flights to protect            1     A They do make notes if there is suspicious
 2 aviation security.                                      2 activity.
 3     Q As part of special mission coverage, do           3     Q What are those reports called?
 4 Federal Air Marshals observe the behavior of            4        MS. KONKOLY: Objection insofar as the
 5 specific passengers?                                    5 answer would call for any information protected by
 6       MS. KONKOLY: Objection insofar as the             6 SSI. You can answer to the extent that you can.
 7  complete  answer would call for any information        7     A I do not know the actual name of the report,
 8 protected by SSI. You can answer insofar as you         8 but it's primarily their FAMS mission reports.
 9 can.                                                    9     Q FAMS mission reports, okay.
 10 A As also referencing in my declaration that           10 A High level.
 11 the Federal Air Marshals are charged with, as part     11 Q Are FAMS mission reports ever provided to
 12 of their security and law enforcement purposes,        12 intelligence agencies?
 13 observing passengers.                                  13       MS. KONKOLY: Objection insofar as the
 14 Q Okay. Do Federal Air Marshals prepare                14 answer would call for any information protected by
 15 reports on the observations they engage in of          15 SSI. You can answer to the extent that you can.
 16 passengers?                                            16 A At a high level related to their law
 17      MS. KONKOLY: Objection insofar as the             17 enforcement duties as part of aviation security and
 18 answer calls for any information protected by SSI.     18 homeland security mission. If there is information
 19 Again, you can answer to the extent that you can.      19 that rises to the level, depending on what it is
 20 A So to the extent if they are noting any              20 that's identified requires further referral or
 21 suspicious activity, they do prepare reports related   21 investigation, they will provide it if it's -- for
 22 to their mission and deployments.                      22 example, if it's related to terrorist-related
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                      Transcript of Hao-y Tran Froemling, Designated Representative                 4 (13 to 16)

                                      Conducted on October 4, 2018
                                                     13                                                        15
 1 activities, it may be referred to other agencies.       1 information and further review.
 2     Q Why do FAMS mission reports provided to           2      Q So in some circumstances, particularly
 3 other agencies, including intelligence agencies, not    3 related to terrorism, FAMS do provide information to
 4 constitute intelligence collection on passengers at     4 intelligence agencies?
 5 airports?                                               5        MS. KONKOLY: Objection insofar as the
 6       MS. KONKOLY: Objection insofar as the             6  answer  calls for any information protected by SSI.
 7 answer calls for any information protected by SSI.      7 Objection, mischaracterizes prior testimony. You
 8 You can answer to the extent that you can.              8 can answer to the extent that you can.
 9     A So the FAMS are performing -- their primary       9      A Correct. Information that is observed in
 10 objective is to secure and provide aviation security   10 the course of performing their law enforcement and
 11 and law enforcement -- provide the law enforcement     11 aviation security mission, they will, if necessary,
 12 presence to secure the aircraft, protect passengers    12 be referred to the appropriate agency. Same thing
 13 and crew on flights.                                   13 if criminal activity is observed, it is forwarded to
 14      Their primary purpose is to thwart any            14 the appropriate law enforcement agencies. If there
 15 potential harm that may come in that mission.          15 is information that may rise and be related to
 16 Should any activities occur, be it -- whether it's     16 terrorist-related activities, it may be referred to
 17 law enforcement related or other -- if it rises to     17 intelligence agencies, to answer your question.
 18 terrorist activity or something that occurs, that is   18 Q What are the intelligence agencies that the
 19 the point at which it would be forwarded.              19 Federal Air Marshal Service may supply information
 20      It is not intelligence collection. Their          20 to?
 21 purpose is not to observe and perform intelligence     21       MS. KONKOLY: Objection insofar as the
 22 collection. As stated in my prior testimony, we do     22 answer calls for any information protected by SSI.
                                                     14                                                        16
 1 not perform intelligence collection. The FAMS are       1 You can answer to the extent that you can.
 2 performing their law enforcement duties to observe      2     A So broadly, it would depend on the
 3 passengers and aircraft and monitor for potential       3 information. When it rises to terrorist-related
 4 activities that may cause harm. That is not             4 activities, we do share that information with the
 5 intelligence collection. That is performing law         5 FBI and the National Counterterrorism Center, but it
 6 enforcement and aviation security mission.              6 would very much depend on the information on a
 7     Q In the course of FAMS performing their law        7 particular activity.
 8 enforcement mission, would it be fair to                8     Q Does the TSA maintain any list separate from
 9 characterize some of the information they obtained      9 the terrorist screening database, which are designed
 10 during that mission as intelligence?                   10 to identify high-risk passengers?
 11      MS. KONKOLY: Objection insofar as the             11      MS. KONKOLY: Objection insofar as the
 12 answer would call for any information protected by     12 complete answer would call for any information
 13 SSI. You can answer to the extent that you can.        13 protected by SSI, and objection also as to the scope
 14 A In the broader scheme, as part of their law          14 of the deposition, but you can answer to the extent
 15 enforcement mission, they are securing the aircraft.   15 that you can.
 16 If there's additional information that is later        16 A So related to my prior testimony, we had
 17 determined to warrant further investigation or rises   17 discussed rules-based passengers where they are not
 18 to the level of providing additional information       18 specific lists direct. However, we do have
 19 related to terrorist activity or other capabilities    19 high-risk passengers where they may be derived based
 20 or operational activities that relate to adversarial   20 on rules that then are utilized to identify
 21 actions, that could be -- become then                  21 high-risk passengers.
 22 intelligence -- provided for intelligence              22      And to your question of any other lists
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                     Transcript of Hao-y Tran Froemling, Designated Representative                5 (17 to 20)

                                     Conducted on October 4, 2018
                                                  17                                                         19
 1 outside of the TSDB, keeping within the scope, in my   1     A So as discussed in my declaration, we have
 2 prior testimony we had also discussed that there are   2 international-based and international-based subsets
 3 other watch lists, to include the CDC and "Do Not      3 for domestic screening operations, which is Quiet
 4 Board" lists, that would be deemed higher risk.        4 Skies. We also have -- the name for the
 5     Q What is Quiet Skies?                             5 international-based rules is Silent Partner.
 6       MS. KONKOLY: Objection insofar as the            6     Q I will just confess, I'm slightly confused.
 7 answer would call for any information protected by     7 You used the word "international" for both of those.
 8 SSI. You can answer to the extent that you can.        8 So what's the difference between Quiet Skies and
 9     A So per my declaration, the Quiet Skies is        9 Silent Partner?
 10 one of TSA's high-risk, rules-based passenger         10      MS. KONKOLY: Objection insofar as that the
 11 programs related to TSA's risk-based,                 11 answer calls for any information protected by SSI,
 12 intelligence-driven rules to identify passengers      12 but you can answer to the extent that you can.
 13 that may present an elevated risk.                    13 A So may I refer to my declaration?
 14 Q And is every passenger currently subject to         14 Q Yeah. Let's go ahead and just mark that.
 15 Quiet Skies rules compiled on a single list           15 So the -- it's tab two we will mark as Exhibit 2.
 16 somewhere?                                            16          (Froemling Deposition Exhibit 2 was
 17      MS. KONKOLY: Objection insofar as the            17 marked for identification and attached to the
 18 answer calls for any information protected by SSI.    18 transcript.)
 19 You can answer to the extent that you can.            19 A So on page 7 of 14, section 14, I discussed,
 20 A So as discussed previously, it is not a list        20 we have rules that designate passengers on
 21 direct similar to the watch list. What we have is     21 international flights for enhanced screening. As I
 22 we run a series of risk-based, intelligence-driven    22 just mentioned, that is our reference to Silent
                                                  18                                                         20
 1 rules that then derive -- are matched up against a     1 Partner. Quiet Skies international rules that apply
 2 list of passengers. So, in effect, in order to         2 to domestic screening operations are Quiet Skies
 3 execute it via our secure flight program, there is a   3 rules.
 4 list in order to be able to effect Quiet Skies and     4     Q If a flight is inbound from an international
 5 designate passengers for higher risk and enhanced      5 flight to the United States, is that governed by
 6 screening.                                             6 Quiet Skies or Silent Partner?
 7     Q In addition to Quiet Skies, does the TSA         7       MS. KONKOLY: Objection insofar as the
 8 have any other programs based off of the operation     8 answer could call for any information protected by
 9 of high-risk rules?                                    9 SSI, but you can answer to the extent that you can.
 10       MS. KONKOLY: Objection insofar as the           10 A As discussed, as that relates to
 11 answer calls for any information protected by SSI.    11 international, that is Silent Partner.
 12 You can answer to the extent that you can.            12 Q Okay. And if a flight is leaving the United
 13 A Yes. So per my declaration, Quiet Skies is          13 States and flying to a foreign country, is that also
 14 one of our rules-based programs. Yes, we do have --   14 Silent Partner?
 15 Quiet Skies is one of our rules-based programs to     15      MS. KONKOLY: Objection insofar as the
 16 identify higher risk passengers.                      16 answer calls for any information protected by SSI.
 17 Q What are the names of the TSA's other               17 You can answer to the extent that you can.
 18 rules-based programs to identify high-risk            18 A So that applies to our domestic screening
 19 passengers?                                           19 operations, so that is Quiet Skies.
 20       MS. KONKOLY: Objection insofar as an answer     20 Q Okay. And if a flight is simply between two
 21 calls for any information protected by SSI, but you   21 domestic airports, is that also Quiet Skies?
 22 can answer to the extent that you can.                22      MS. KONKOLY: Again, objection insofar as
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                      Transcript of Hao-y Tran Froemling, Designated Representative                6 (21 to 24)

                                      Conducted on October 4, 2018
                                                    21                                                        23
 1 the answer calls for anything protected by SSI, but     1 question calls for any information protected by SSI,
 2 you can answer to the extent that you can.              2 also as to the scope of the designated topics for
 3     A Quiet Skies refers to our domestic screening      3 this deposition, but you can answer if you can.
 4 operations, yes.                                        4     A So at a high level TSA does not perform the
 5     Q And for -- does TSA perform any rules-based       5 screening abroad, so for international passengers
 6 screening on international airport to international     6 there is a cooperation where we have requirements on
 7 airport flights?                                        7 carriers abroad to -- and airports' requirements to
 8        MS. KONKOLY: Objection insofar as the            8 perform screening prior to passengers boarding
 9 answer would call for any information protected by      9 aircraft.
 10 SSI. You can answer to the extent that you can.        10      So insofar as TSA -- and I also discussed in
 11 A So just to clarify your question, does TSA           11 my prior testimony -- provides the designation of
 12 perform rule-based prescreening or physical            12 whether individuals should receive enhanced
 13 screening? I just want to clarify the question.        13 screening, that information shared is not specific
 14 Sorry.                                                 14 to just the rules. TSA provides back to the
 15 Q Yeah. Does the TSA run any rules against             15 carriers which passengers are required to undergo
 16 the itineraries of individuals on                      16 enhanced screening.
 17 international-to-international flights?                17 Q So foreign governments conducting screening
 18       MS. KONKOLY: And I'm going to object that        18 of international passengers are made aware that the
 19 that question calls for information protected by SSI   19 TSA requires enhanced screening on those passengers?
 20 and instruct the witness not to answer on that         20      MS. KONKOLY: Objection insofar as the
 21 basis.                                                 21 answer calls for any information protected by SSI,
 22 Q Does the TSA cooperate with foreign                  22 and, again, as to the scope of the designated topics
                                                    22                                                        24
 1 governments in the operation of Silent Partner?         1 for the deposition, but you can answer if you can.
 2        MS. KONKOLY: Objection insofar as that           2     A Right. So per my prior statement, to the
 3 question calls for any information protected by SSI,    3 extent that they are made aware that there are
 4 but you can answer to the extent that you can.          4 individuals that TSA has designated for enhanced
 5     A So just to confirm the question, does the         5 screening, they are aware and made aware via the
 6 TSA cooperate with other foreign governments? TSA       6 designation via TSA to the carrier of passengers
 7 operates Silent Partner. Know that is primarily TSA     7 that have been designated to receive enhanced
 8 executing that. It is not with foreign governments.     8 screening.
 9     Q Does the TSA share the results of the             9     Q Where did the name Silent Partner come from?
 10 operation of the high-risk Silent Partner rules with   10      MS. KONKOLY: Objection insofar as that
 11 any foreign government agencies?                       11 question calls for any information protected by SSI,
 12       MS. KONKOLY: And, again, objection insofar       12 but you can answer if you can.
 13 as the answer calls for any information protected by   13 A I'm not sure I can answer other than as TSA
 14 SSI. You can answer to the extent that you can.        14 worked to implement the execution. I was not there
 15 A So TSA by its policy and procedures, we do           15 when they were creating the name.
 16 not, as a norm, share any of the results of the        16 Q Yeah. Who's the "partner" in Silent
 17 rules direct to the rules. What we do is we operate    17 Partner?
 18 these rules-based programs to identify passengers      18      MS. KONKOLY: Objection, vague. Objection
 19 requiring enhanced screening. So we're -- go ahead.    19 insofar as the answer could call for any information
 20 Q Does the TSA tell any foreign governments            20 protected by SSI. You can answer if you can.
 21 that they should subject international passengers to   21 A It is not intended to be -- there is no
 22 enhanced screening? Objection insofar as that          22 direct partner. The intent is that Silent Partner
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                     Transcript of Hao-y Tran Froemling, Designated Representative               7 (25 to 28)

                                     Conducted on October 4, 2018
                                                  25                                                        27
 1 are those individuals on international-related         1     A As I've previously stated, I do not have the
 2 flights that have been identified via TSA's            2 background regarding the creation of the actual
 3 high-risk rules that require enhanced screening.       3 name. It is intended to and as part of my
 4 There's no intended partner that I am aware of.        4 declaration for international flights and travelers
 5     Q Does partner --                                  5 we coordinate to identify rules that would identify
 6       MS. KONKOLY: Can I just interject to say         6 potential travel patterns or terrorist-related --
 7 that the whispering from counsel is somewhat           7 terrorist-related travel patterns or tradecraft and
 8 distracting, and we'd appreciate if you could pass     8 identify rules that may designate passengers that
 9 notes instead.                                         9 would have an elevated risk. So --
 10      MR. ABBAS: There's going to be some              10 Q You just said we coordinate. Who is the --
 11 whispering.                                           11 A We, TSA.
 12      MS. KONKOLY: Not during the witness'             12       MS. KONKOLY: Objection insofar as the
 13 testimony, please.                                    13 question calls for any information protected by SSI.
 14      MR. ABBAS: Go ahead.                             14 Q Let me kind of make the question more
 15 Q Why is Silent Partner called silent?                15 precise for the record. You just said we
 16      MS. KONKOLY: Objection. Asked -- I'm             16 coordinate. Who is the "we" that is coordinating on
 17 sorry. Objection, vague. Objection insofar as the     17 the rules?
 18 answer calls for any information protected by SSI.    18       MS. KONKOLY: And let me put the objection
 19 You can answer if you can.                            19 in, insofar as it calls for any information
 20 A I do not have the information regarding how         20 protected by SSI, but you can answer if you can.
 21 the name was decided. I can answer to the construct   21 A So TSA, the Office of Intelligence and
 22 of they are high-risk rules. They're designated to    22 Analysis, reviews current intelligence purporting to
                                                  26                                                        28
 1 identify and implemented to mitigate threats to        1 identify threats to aviation security and to
 2 aviation security and to homeland security, identify   2 homeland security. We identify potential rules that
 3 passengers that may present a higher risk.             3 would mitigate threats that have been identified,
 4     Q In addition to Quiet Skies and Silent            4 and I derived the rules. The coordination, as
 5 Partner, does the TSA have any other programs that     5 discussed in my declaration, is we do work with CBP
 6 are based on the operation of high-risk rules?         6 to implement the rules.
 7       MS. KONKOLY: Objection insofar as the            7       So when I say coordinate, we use their
 8 question calls for any information protected by SSI.   8 system, ATS, to implement our rules to identify
 9 You can answer to the extent that you can.             9 high-risk passengers on international flights and
 10 A So per my declaration, we know we have              10 then the subset is Quiet Skies for our domestic
 11 Silent Partner and Quiet Skies that are the           11 operations, which is implemented by TSA.
 12 operations of our high-risk rules for identifying     12 Q In addition to CBP, does the TSA coordinate
 13 high-risk passengers.                                 13 with any other federal foreign agencies --
 14 Q So it's just those two?                             14      MS. KONKOLY: Objection --
 15      MS. KONKOLY: Same objections.                    15 Q -- in the creation or implementation of
 16 A Yes.                                                16 high-risk rules?
 17 Q What is your understanding of who or what is        17      MS. KONKOLY: Objection insofar as the
 18 the partner in Silent Partner?                        18 answer calls for information protected by SSI. You
 19      MS. KONKOLY: Objection, asked and answered.      19 can answer -- and law enforcement privilege. You
 20 Objection, vague. Objection insofar as the question   20 can answer to the extent that you can.
 21 calls for any information protected by SSI, but you   21 A TSA derives the rules. TSA does an
 22 can answer if you can.                                22 independent assessment of the intelligence and
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                      Transcript of Hao-y Tran Froemling, Designated Representative                 8 (29 to 32)

                                      Conducted on October 4, 2018
                                                    29                                                         31
 1 creates the rules. We do not coordinate the             1 not -- they are not the same as our process for
 2 creation of the rules with any -- with other federal    2 watch list matching for passengers on the no-fly and
 3 agencies or foreign governments, to answer your         3 selectee list.
 4 question.                                               4        The high-risk rules are identification of
 5     Q What sources of intelligence is TSA deriving      5 passengers that have an elevated risk. They are
 6 the rules from?                                         6 derived from intelligence -- current intelligence
 7       MS. KONKOLY: Objection insofar as the             7 reporting to mitigate threats to aviation security
 8 answer calls for anything protected by SSI,             8 and homeland security.
 9 potentially state secrets, and also the law             9        The rules themselves or matching to the rule
 10 enforcement privilege. You can answer to the --        10 are not -- those that match to the rule are not in
 11 Q Let me ask that question a better way. What          11 and of themselves -- they are separate. They are
 12 other agencies are communicating intelligence to the   12 not the -- we do not consider the high-risk rules
 13 TSA that forms the basis of high-risk rules?           13 matches those as the same as the TSDB watch list
 14      MS. KONKOLY: And I'm going to object              14 matching.
 15 insofar as the answer calls for anything protected     15 Q Do the high-risk rules themselves cross
 16 by SSI or the law enforcement privilege, and I'm       16 reference any TSDB information?
 17 going to instruct the witness not to answer.           17       MS. KONKOLY: Objection, that answer calls
 18 Q Is the FBI an agency that provides TSA with          18 for information protected by SSI, and I'm
 19 information that informs the creation of high-risk     19 instructing the witness not to answer, and the law
 20 rules?                                                 20 enforcement privilege.
 21      MS. KONKOLY: I'm going to state the same          21 Q Does the operation of high-risk rules cross
 22 objections, SSI, law enforcement privilege; and I'm    22 reference any phone numbers associated with TSDB
                                                    30                                                         32
 1 going to again instruct the witness not to answer.      1 listees?
 2     Q Is the CIA an agency that provides                2        MS. KONKOLY: Objection, that question calls
 3 information to the TSA that informs the creation of     3 for information protected by SSI, potentially the
 4 high-risk rules?                                        4 state secrets privilege, the law enforcement
 5       MS. KONKOLY: Same objections, SSI, law            5 privilege. And I'm instructing the witness not to
 6 enforcement privilege; and I'm again instructing the    6 answer.
 7 witness not to answer.                                  7      Q Does the operation of high-risk rules cross
 8     Q Is the National Security Council an agency        8 reference any family members that may be associated
 9 that provides intelligence information to the TSA       9 with TSDB listees?
 10 that informs the creation of high-risk rules?          10       MS. KONKOLY: I'm going to again object on
 11      MS. KONKOLY: Same objections, SSI, law            11 the basis of SSI, the law enforcement privilege, and
 12 enforcement privilege; and I'm instructing the         12 I'm instructing the witness not to answer.
 13 witness not to answer.                                 13 Q Does the operation of high-risk rules cross
 14 Q What is the relationship between the TSA's           14 reference any email addresses associated with TSDB
 15 high-risk rules and the terrorist screening            15 listees?
 16 database?                                              16       MS. KONKOLY: I am again objecting on the
 17      MS. KONKOLY: Objection insofar as the             17 basis  of SSI, the law enforcement privilege, and
 18 answer calls for any information protected by SSI or   18 instructing the witness not to answer.
 19 the law enforcement privilege. You can answer to       19 Q Does the operation of high-risk rules ever
 20 the extent that you can.                               20 lead to the collection of information on the
 21 A So as discussed in my declaration, I view            21 passengers flagged by the rules that then leads to
 22 them as separate. The rules -- high-risk rules are     22 that passenger's nomination to the TSDB?
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                      Transcript of Hao-y Tran Froemling, Designated Representative               9 (33 to 36)

                                      Conducted on October 4, 2018
                                                    33                                                       35
 1       MS. KONKOLY: Objection, vague. Objection          1 passenger's nomination to the TSDB.
 2 insofar as the answer calls for any information         2     Q TSA Administrator Pekoske testified to
 3 protected by SSI and the law enforcement privilege.     3 Congress on September 5 that Quiet Skies had led to
 4 You can answer to the extent that you can.              4 nominations to the watch list; is that correct?
 5     A So to date in our operation of high-risk          5       MS. KONKOLY: I'm going to ask first that
 6  rules, we have not identified any reporting specific   6  the witness be provided a copy of the testimony
 7 to the rules that have been -- to make sure I'm         7 you're referencing.
 8 answering your question, can you confirm the last       8     Q Are you familiar with that -- are you
 9 part of your question just to make sure I'm             9 familiar that Administrator David Pekoske testified
 10 answering it?                                          10 to Congress on September 5?
 11      MS. HOMER: Can you read it back?                  11 A Yes.
 12          (The Reporter read the record as              12 Q Did you attend that hearing?
 13 follows: Does the operation of high-risk rules ever    13 A No.
 14 lead to the collection of information on the           14 Q Did you read the testimony from that
 15 passengers flagged by the rules that then leads to     15 hearing?
 16 that passenger's nomination to the TSDB?)              16 A I've read portions of the testimony.
 17      MS. KONKOLY: And same objections.                 17 Q Did you review the video of that hearing?
 18 A So as stated previously, we do not perform           18 A No.
 19 intelligence collection, and as I described, we are    19      MS. HOMER: Can we take a quick break?
 20 performing law enforcement observations to secure      20      MS. KONKOLY: Sure.
 21 the crew. The -- by virtue of being a match to a       21      THE VIDEOGRAPHER: Please stand by. We are
 22 rule does not lead automatically to a nomination to    22 going off the record. The time is 11:14 a.m.
                                                    34                                                       36
 1 the TSDB. To date those observations as performed       1       (Off the record.)
 2 have not led to nominations to the TSDB.                2       THE VIDEOGRAPHER: We are back on the
 3     Q Has the TSA ever nominated a Quiet Skies          3 record. The time is 10:32 a.m. (sic).
 4 selectee to the TSDB?                                   4       MS. KONKOLY: And just a brief clarification
 5        MS. KONKOLY: Objection insofar as the            5 before we move onto the next question. There was a
 6 answer calls for any information protected by SSI or    6 line of questioning in which I objected and
 7 potential law enforcement privilege. You can answer     7 instructed the witness not to answer. We understood
 8 to the extent that you can.                             8 that line of questioning to be getting to the
 9     A To date, TSA, by virtue of being a Quiet          9 content of the Quiet -- or the rules-based
 10 Skies rules-based passenger, has not nominated a       10 targeting, and I just wanted to clarify that that is
 11 Quiet Skies rules-based passenger to the TSDB.         11 the understanding that we had of those questions on
 12 Q Has the TSA ever nominated a Quiet Skies             12 which we based those objections.
 13 selectee who was subjected to Federal Air Marshal      13 BY MS. HOMER:
 14 scrutiny to the TSDB?                                  14 Q Okay. One cleanup question from that, does
 15       MS. KONKOLY: Objection insofar as the            15 the TSA's rules-based programs rely on terrorist
 16 answer calls for any information protected by SSI or   16 screening database information in any capacity?
 17 the law enforcement privilege. You can answer to       17      MS. KONKOLY: Objection insofar as the
 18 the extent that you can.                               18 answer would call for information protected by SSI
 19 A I believe I just answered that, in that              19 and the law enforcement privilege. And again, I
 20 Quiet Skies passengers' observations from our          20 need to instruct the witness not to answer.
 21 Federal Air Marshals for being a Quiet Skies           21 Q Okay. So before the break I referenced
 22 rules-based passenger have not led to the              22 testimony by Chairman Pekoske that he gave to
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                      Transcript of Hao-y Tran Froemling, Designated Representative                10 (37 to 40)

                                      Conducted on October 4, 2018
                                                    37                                                        39
 1 Congress, specifically the Senate, I believe,           1       SENATOR MARKEY: -- prosecuted yet? And how
 2 Transportation Oversight Committee on September 5,      2 many threat --"
 3 2018. Senator Markey in a portion of that               3     Q Did you hear that testimony?
 4 deposition was asking Administrator Pekoske about       4     A I did.
 5 the Quiet Skies program.                                5     Q What is your understanding of what
 6        That testimony, it's about an hour and a         6 chairman -- or Administrator Pekoske meant when he
 7 half long, and it is recorded by C-SPAN at              7 said that individuals who are a part of the Quiet
 8 C-span.org/video/?451104-1/                             8 Skies program had later been determined to be part
 9 TransportationSecurityAdministrationOversight.          9 of a broader selectee pool?
 10       MS. KONKOLY: Counsel, I'll just note what I      10      MS. KONKOLY: Objection, calls for
 11 stated  off the record which is that that's the URL    11 speculation.   Objection insofar as the answer would
 12 that is live today, but we would ask you to create a   12 call for any information protected by SSI or the law
 13 permalink for that to preserve the testimony for the   13 enforcement privilege, but you can answer to the
 14 record.                                                14 extent that you can.
 15       MS. HOMER: We are happy to do so. Starting       15 A Okay. So my understanding, and in line with
 16 at the 1-hour, 8-minute, and 38-second portion,        16 my previous statement, TSA has not nominated any
 17 there is a question from Senator Markey that Pekoske   17 individuals related to Quiet Skies for being Quiet
 18 answers that I am now going to play.                   18 Skies passengers to the TSDB.
 19       MR. ABBAS: Ask to confirm that that's            19      My understanding of his testimony is TSA --
 20 Pekoske.                                               20 it has been identified that past -- Quiet --
 21       MS. HOMER: Oh, yes.                              21 individuals that have matched to Quiet Skies rules
 22       MS. KONKOLY: I'm going to ask that one           22 have subsequently been added to the TSDB as known or
                                                    38                                                        40
 1 counsel from plaintiff's side ask the questions.        1 suspected terrorists.
 2       MR. ABBAS: I did not ask a question of the        2     Q Were those individuals who had matched to
 3 deponent.                                               3 Quiet Skies rules and who were subsequently added to
 4     Q All right. So first off, I want to show           4 the TSDB as known or suspected terrorists on the
 5 this video of the URL or the picture. Is this TSA       5 Quiet Skies list at the time of their nomination to
 6 Administrator Pekoske?                                  6 the TSDB?
 7 A Yes.                                                  7       MS. KONKOLY: Objection insofar as the
 8     Q Okay. Now we're going to play this                8 answer would call for any information protected by
 9 question.                                               9 SSI or the law enforcement privilege. You can
 10      "MR. PEKOSKE: I don't have that information       10 answer to the extent that you can.
 11 off the top of my head.                                11 A I do not know for fact. I do know at a high
 12      SENATOR MARKEY: How many individuals              12 level the way we perform our passenger prescreening
 13 surveilled under the Quiet Skies program have been     13 and secure flight is we do conduct match it --
 14 arrested or prosecuted?                                14 passenger matching to identify if there are any
 15      MR. PEKOSKE: I don't believe anybody has          15 individuals on the no-fly or selectee, expanded
 16 been arrested or prosecuted. However, people that      16 selectee list as discussed in my prior deposition.
 17 are in the Quiet Skies program have eventually been    17      So we conduct that match. If they match to
 18 determined to be part of a larger selectee pool        18 that, they would be identified as such. Separate to
 19 based on what the Quiet Skies program --               19 that we also have our high-risk rules, TSA's
 20      SENATOR MARKEY: I appreciate that, but no         20 high-risk rules passengers.
 21 one has been arrested or --                            21      Our system, the way I understand it is, if
 22      MR. PEKOSKE: No, sir.                             22 you match to the TSDB to those lists, you would
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                      Transcript of Hao-y Tran Froemling, Designated Representative                11 (41 to 44)

                                      Conducted on October 4, 2018
                                                     41                                                       43
 1 be -- we would note it as such. If you're not on        1 high-risk rule ever equivalent to derogatory
 2 those lists, we would also have our Quiet Skies         2 information that supports nomination to the TSDB?
 3 rules list matches.                                     3       MS. KONKOLY: Objection, vague. Objection
 4       And so, thus, if an individual has been           4 insofar as that question calls for any information
 5 flagged for enhanced screening because of Quiet         5 protected by SSI. And I need to instruct the
 6 Skies -- I do not know this for fact, but my            6 witness not to answer, and also on the basis of the
 7 assumption is is they were not at the time on the       7 law enforcement privilege.
 8 TSDB's no-fly selectee, expanded selectee. What we      8     Q If an individual is flagged as a Quiet Skies
 9 have identified though, has been confirmed is that      9 selectee on the basis of their travel patterns, can
 10 individuals subsequent to being noted and matched to   10 the same travel pattern support information
 11 Quiet Skies rules have been added to the TSDB.         11 nominating them to the TSDB?
 12 Q Individuals are only flagged by Quiet Skies          12      MS. KONKOLY: Objection, that question calls
 13 for either 90 days or three encounters, correct?       13 for information protected by SSI and the law
 14      MS. KONKOLY: Objection. That question             14 enforcement privilege, and I'm instructing the
 15 calls for information protected by SSI, and I'm        15 witness not to answer.
 16 instructing the witness not to answer.                 16 Q Are the same facts that underlie application
 17      MS. GREENBAND: Oh, sorry.                         17 of a Quiet Skies rule ever used to support a TSDB
 18      MS. KONKOLY: That stands.                         18 nomination?
 19 Q Has the TSA ever stopped flagging someone as         19      MS. KONKOLY: Same objections. That
 20 Quiet Skies selectees and then nominated that person   20 question calls for information protected by SSI, the
 21 to the TSDB?                                           21 law enforcement privilege, and I'm instructing the
 22      MS. KONKOLY: Objection, vague. Objection          22 witness not to answer.
                                                     42                                                       44
 1 insofar as the question calls for any information       1     Q Is the fact that an individual has been
 2 protected by SSI, but you can answer that if you        2  flagged as a Quiet Skies selectee ever used in the
 3 can.                                                    3 totality of the circumstances to support a
 4     A So to make sure I understand the question,        4 nomination to the TSDB?
 5 as I stated previously, we have not nominated           5       MS. KONKOLY: Objection insofar as the
 6 individuals to the TSDB as a result or as part of       6 question calls for any information protected by SSI
 7 being Quiet Skies rules.                                7 and the law enforcement privilege, but you can
 8     Q Does being flagged as a Quiet Skies designee      8 answer that one to the extent that you can.
 9 in any way support a nomination to the TSDB?            9     A I'm sorry. So repeat the question. Is the
 10      MS. KONKOLY: Objection, vague. Objection,         10 fact that an individual is a match to the -- I'm
 11 calls for speculation. Objection insofar as the        11 sorry.
 12 answer calls for any information protected by SSI.     12      MS. HOMER: Can you read it back for me,
 13 You can answer to the extent that you can.             13 please.
 14 A So as stated, my declaration simply matching         14          (Pending question read.)
 15 our rules are established to identify passengers       15      MS. KONKOLY: And the same objections.
 16 that present an elevated risk and are higher risk.     16 A So what I can state and I will reiterate is
 17 Simply matching to the rule does not identify them     17 to date TSA has not nominated any individuals
 18 as being a known or suspicious terrorist. We have      18 from -- that have been identified as a Quiet -- a
 19 not nominated -- we do not automatically nominate      19 match to the Quiet Skies rules to the TSDB. By
 20 anybody that matches to our high-risk rules to the     20 virtue of being a match to the Quiet Skies rules
 21 watch list.                                            21 does not -- also does not automatically go to a
 22 Q Is the same information that triggers a              22 nomination to a TSDB.
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                      Transcript of Hao-y Tran Froemling, Designated Representative                12 (45 to 48)

                                      Conducted on October 4, 2018
                                                    45                                                        47
 1       Circumstances in the totality, as discussed      1       MS. KONKOLY: Objection insofar as that
 2 in prior testimony, is there's multiple pieces of      2 question calls for anything protected by SSI, but
 3 information and criteria that would need to be met     3 you can answer to the extent that you can.
 4 to be nominated to the TSDB.                           4     A Correct. These are based on rules that we
 5       So I'm trying to be responsive. I'm not          5 have derived from current intelligence reporting and
 6  sure  if I could say -- the fact that they were a     6 present -- to identify passengers that present an
 7 Quiet Skies match was used as part of a nomination     7 elevated risk. This is not related to, as you
 8 to the TSDB. I can say for -- definitively TSA has     8 stated, criminal -- specific criminal reporting of
 9 not provided nor nominated anyone from the Quiet       9 individuals to then put them in as a list.
 10 Skies to the TSDB. However -- I'll leave it at        10 Q Okay. Can we turn to paragraph nine of your
 11 that.                                                 11 declaration, which was previously marked as
 12 Q To the TSA's knowledge, has any other agency        12 Exhibit 2. In paragraph nine, the third full
 13 nominated an individual who happened to be a Quiet    13 sentence reads, "Risk-based security increases
 14 Skies selectee to the TSDB?                           14 operational efficiency and security effectiveness by
 15      MS. KONKOLY: I'm going to object that the        15 allowing TSA to focus less on lower-risk travelers
 16 witness is here to testify on behalf of the TSA       16 and more on higher-risk passengers or those about
 17 only, so that is outside of the scope of the          17 whom it knows less."
 18 deposition for today. I'll also object based on       18      And then it continues, "Quiet Skies is one
 19 insofar as the answer calls for any information       19 of TSA's risk-based security programs that
 20 protected by SSI, but you can answer that if you      20 identifies and addresses potential threats from
 21 happen to know, to the extent that you can.           21 individuals who may intend harm to aviation security
 22      Let me also interject to the law enforcement     22 but who are not in the TSDB."
                                                    46                                                        48
 1 privilege as well. Again, you can answer to the        1      Did I read that correctly?
 2 extent that you can.                                   2    A  You did read that correctly.
 3    A So as stated earlier and after -- and also        3    Q What constitutes an individual who may
 4 for clarification questions of what the                4 intend harm to aviation security but who is not in
 5 administrator stated, I can not speak for other        5 the TSDB?
 6 agencies. However, it has been identified -- the       6      MS. KONKOLY: Objection insofar as that
 7 individuals that have matched to Quiet Skies rules     7  question calls for any information protected by SSI
 8 but independent of TSA matching those individuals to   8 or the law enforcement privilege, but you can answer
 9 Quiet Skies rules have been added to the TSDB.         9 that to the extent that you can.
 10 Q Is Quiet Skies information ever used in             10 A So as you stated, from a risk-based security
 11 support of TSDB nominations?                          11 perspective, TSA is reviewing current intelligence
 12     MS. KONKOLY: Objection insofar as the             12 reporting to identify threats to aviation security
 13 question calls for any information protected by SSI   13 or homeland security. As I discussed earlier, TSA
 14 and the law enforcement privilege, but you can        14 does perform matches against individuals in the TSDB
 15 answer that one to the extent that you can.           15 for the no-fly selectee, expanded selectee lists.
 16 A I believe I've answered that. TSA has not           16     But we also -- there is a component of
 17 nominated individuals for -- based -- that have       17 unknown    -- so the TSDB are for those individuals
 18 matched the Quiet Skies rules to the TSDB.            18 that have met the reasonable suspicion standards to
 19 Q The operation of either Quiet Skies or              19 be a known or suspected terrorist. TSA also reviews
 20 Silent Partner high-risk rules do not depend on an    20 current intelligence reporting to identify threats
 21 individual being under investigation for any crime,   21 to aviation security and homeland security.
 22 correct?                                              22     There is enough information there to know
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                     Transcript of Hao-y Tran Froemling, Designated Representative                  13 (49 to 52)

                                     Conducted on October 4, 2018
                                                   49                                                          51
 1 that there are threats and for that, but we do not      1 say what may have occurred had the enhanced
 2 know the actual individuals, right, and that's why      2 screening or the identification of higher risk
 3 this is separate from the TSDB related matching that    3 passengers for enhanced screening, what may have
 4 we perform. We derive a series of rules to try to       4 occurred had they not been identified.
 5 mitigate that threat and any potential harm that may    5        However, as it comes to directly known of a
 6 come about because of that threat reporting.            6  direct plot that's been foiled by various -- any
 7       So this is to address -- those rules are to       7 specific passenger designated via Quiet Skies, no, I
 8 try to identify passengers who may present a higher     8 do not -- have not identified any.
 9 risk for which TSA -- where we have established this    9     Q Has the Silent Partner program ever foiled
 10 to identify for enhanced screening to -- again, to     10 any terrorist threats?
 11 try to mitigate the potential higher risk that         11       MS. KONKOLY: Same objections insofar as the
 12 passengers may present in mitigation of the aviation   12 answer calls for any information protected by SSI or
 13 security and homeland security threats.                13 the law enforcement privilege, but you can again
 14 Q Okay. In paragraph ten of your declaration,          14 answer to the extent that you can.
 15 you use the phrase "unknown or partially known         15 A So I would answer the same as I answered for
 16 terrorists," correct?                                  16 Quiet Skies. It's very difficult to identify those
 17 A Correct.                                             17 that were deterred and did not occur and we did not
 18 Q Is an unknown or partially known terrorist           18 identify from a deterrence effect. I cannot -- it's
 19 the same thing as an individual who may intend harm    19 difficult to speculate on that. However, we have
 20 to aviation security but who is not in the TSDB?       20 not formally identified any foiled terrorist plots
 21      MS. KONKOLY: Objection insofar as the             21 based on Quiet Skies -- I'm sorry, Silent Partner.
 22 answer calls for anything protected by SSI, but you    22 Q Has either Quiet Skies or Silent Partner led
                                                   50                                                          52
 1 can answer that if you can.                             1 to the arrest or prosecution of an individual on
 2     A It's -- to an extent, yes. When we view the       2 their list?
 3 current intelligence reporting and we identify a        3       MS. KONKOLY: Again, objection insofar as
 4 threat we know that there is information out there      4 the answer calls for any information protected by
 5 that are indications that present this threat but       5 SSI or the law enforcement privilege. You can
 6 it's not fully known, that's why they are not on the    6 answer to the extent that you can.
 7 TSDB for us to direct identify individuals.             7     A No, not specific to by virtue of being the
 8       We do have enough information based on the        8 match to Silent Partner or Quiet Skies.
 9 threat reporting to then identify rules to identify     9     Q What is the TSA's definition of an unknown
 10 passengers that present a higher risk that may         10 or partially known terrorist?
 11 intend to harm. So it's the risk related, so that's    11      MS. KONKOLY: Objection insofar as the
 12 the difference. It's unknown, partially known, so      12 complete   answer calls for anything protected by SSI
 13 we're trying to mitigate the threat by identifying     13 or the law enforcement privilege. You can answer to
 14 potentially higher risk.                               14 the extent you can.
 15 Q Has the Quiet Skies program ever foiled a            15 A So as I discussed earlier, there is current
 16 terrorist plot?                                        16 intelligence reporting out there that speaks to
 17      MS. KONKOLY: Objection insofar as that            17 threats to aviation security and homeland security
 18 answer calls for information protected by SSI or the   18 or threats at large. TSA is focusing on those that
 19 law enforcement privilege. You can answer that to      19 are related to aviation security and homeland
 20 the extent that you can.                               20 security.
 21 A So it's very difficult to talk to if                 21      Those particular threats may not be as
 22 something has been deterred. It's very difficult to    22 granular down to being those that have been
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                     Transcript of Hao-y Tran Froemling, Designated Representative                 14 (53 to 56)

                                     Conducted on October 4, 2018
                                                   53                                                         55
 1 identified and listed in the TSDB. However, there       1 executed via secure flight. We also have
 2 is information that relates to -- there are specific    2 documentation that memorializes what those rules are
 3 activities that present a threat to aviation and        3 that are also reviewed on a quarterly -- regular
 4 homeland security.                                      4 basis with our DHS, oversight, civil rights and
 5       So we do not know all the details of, say,        5 liberties, privacy, our chief counsel. They are
 6  the actual   threat actors or there's only partially   6 approved and regularly reviewed by our
 7 known information which is why -- to mitigate that      7 administrator -- approved by our administrator or
 8 threat, because they are not known or meeting           8 deputy administrator.
 9 suspicion of known suspected terrorists, which is       9     Q And what are the documents that memorialize
 10 part of the TSDB as discussed earlier. These are       10 the high-risk rules called?
 11 those that we know there's a threat but we do not      11      MS. KONKOLY: Objection insofar as that
 12 have the details down to individuals to say and that   12 answer calls for any information protected by SSI,
 13 is why they are unknown or only partially known.       13 but you can answer if you can.
 14 Q In paragraph ten -- I'm summarizing -- you           14 A I don't know the actual name of the
 15 state that following the Christmas Day underwear       15 document. It is memorialized in a memo, which is
 16 bomber TSA conducted a review of existing threats to   16 approved by our administrator for the --
 17 aviation security. Is that generally correct?          17 Q What are the quarterly reports conducted by
 18 A That is correct.                                     18 the civil rights authorities called?
 19 Q Where is that review memorialized?                   19      MS. KONKOLY: And, again, objection insofar
 20      MS. KONKOLY: Objection insofar as the             20 as the answer calls for any information protected by
 21 answer   would call for information protected by SSI   21 SSI, but you can answer to the extent that you can.
 22 or the law enforcement privilege. You can answer to    22 A I don't know that the reports have a name.
                                                   54                                                         56
 1 the extent that you can. I'm also going to              1 It is -- we have a quarterly governance review of
 2 interpose a scope objection.                            2 current intelligence threats reporting and the rules
 3     A I'd have to go back. Generally speaking,          3 that have been established to mitigate those
 4 when we review current intelligence reports we --       4 threats.
 5 and identify those that are aviation threats,           5     Q Has any portion of those quarterly
 6 aviation security threats or homeland security          6 governance reviews been made public?
 7 threats, we have intelligence reports, whether we       7     A No.
 8 are providing it to our senior leadership or review     8     Q Has -- are those -- have any of those
 9 by our security operations or leadership. I don't       9 quarterly governance reviews ever been provided to
 10 know if we can follow up on that.                      10 Congress?
 11 Q Okay. What are --                                    11      MS. KONKOLY: Objection if there's anything
 12 A Sorry.                                               12 in that answer that calls for SSI, but you can
 13 Q What are the documents called where the TSA          13 answer to the extent that you can.
 14 creates and explains its high-risk rules?              14 A I do not believe we provide the actual
 15      MS. KONKOLY: Objection insofar as the             15 quarterly governance reviews to Congress. What we
 16 answer calls for any information protected by SSI.     16 do is we brief Congress regarding our processes,
 17 You can answer if you know.                            17 regarding the current intelligence threats,
 18 A What are the documents called where TSA              18 regarding our establishment of rules. We have been
 19 explains its --                                        19 doing this since the establishment of the program.
 20 Q And creates the high-risk rules.                     20 I do not believe we are actually -- the briefings
 21 A So we review reports. We implement our               21 are not set up to be the same rated for audiences.
 22 high-risk rules in the ATS system and then also        22 Q When was Quiet Skies established?
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                      Transcript of Hao-y Tran Froemling, Designated Representative               15 (57 to 60)

                                      Conducted on October 4, 2018
                                                     57                                                     59
 1       MS. KONKOLY: Objection insofar as the             1 questions regarding the document.
 2 answer calls for any information protected by SSI,      2        MS. HOMER: Any questions?
 3 but you can answer if you can.                          3        MS. GREENBAND: Can we take a 20-second
 4     A TSA began Quiet Skies in 2011.                    4 break?
 5     Q When was Silent Partner established?              5        MS. HOMER: Yes.
 6       MS. KONKOLY: Same objection insofar as the        6        MR. ABBAS: Do you need us to leave the
 7 question calls for any information protected by SSI.    7 room?
 8 You can answer to the extent you can.                   8        MS. KONKOLY: We can leave.
 9     A 2010.                                             9        MS. HOMER: Okay, you'll leave. We'll stay
 10 Q When did the TSA begin assigning Federal Air         10 right here.
 11 Marshals to special mission coverage of Quiet Skies    11       THE VIDEOGRAPHER: Please stand by. We are
 12 selectees?                                             12 going off the record. The time is 12:01 p.m.
 13 A March of 2018.                                       13       (Off the record.)
 14 Q When did the TSA begin assigning Federal Air         14       THE VIDEOGRAPHER: We are back on the
 15 Marshals to special mission coverage of Silent         15 record. The time is 12:03 p.m.
 16 Partner?                                               16       MS. KONKOLY: All right. Counsel, would you
 17      MS. KONKOLY: Objection. That question             17 mind clarifying the document at issue and where you
 18 calls for information protected by SSI, and I'm        18 obtained it to include it among the materials that
 19 going to instruct the witness not to answer on that    19 you identified for questioning at this deposition?
 20 ground.                                                20       MS. HOMER: Yes. So what has been marked as
 21 Q Does the TSA assign Federal Air Marshals to          21 Exhibit 3 is a document that was published by the
 22 special mission coverage of the Silent Partner         22 Boston Globe on July 28, 2018, and it was included
                                                     58                                                     60
 1 listees?                                                1 in plaintiff's motion to compel materials as Exhibit
 2       MS. KONKOLY: Again, I'm objecting on the          2 B.
 3 basis of SSI and instructing the witness not to         3       MS. KONKOLY: Okay. So to clarify, it was
 4 answer.                                                 4 among the materials that was identified by you in
 5     Q Has the TSA ever informed Congress about          5 preparation for this deposition?
 6 whether or not it assigns Federal Air Marshals to       6       MS. HOMER: Yes. I specifically identified
 7 special mission coverage of Silent Partner              7 the Boston Globe July 28 article prior to this
 8 selectees?                                              8 deposition, and this is hyperlinked within that
 9       MS. KONKOLY: I'm going to object on the           9 article, and there's an image of it and it is quoted
 10 basis of SSI and instruct the witness not to answer.   10 extensively.
 11 Q I'd like to look at what's now tab three in          11      MS. KONKOLY: Okay. If you could ask the
 12 your binder, which is a March 13, 2018, TSA bulletin   12 question again or have it read back, either way.
 13 or at least purports to be, and ask the court          13 BY MS. HOMER:
 14 reporter to mark it as Exhibit 3.                      14 Q Okay. Ms. Froemling, have you ever seen
 15          (Froemling Deposition Exhibit 3 was           15 this document before?
 16 marked for identification and attached to the          16      THE WITNESS: I can answer?
 17 transcript.)                                           17      MS. KONKOLY: Yeah. You can -- yes or no.
 18 Q Ms. Froemling, have you seen this document           18 A Yes.
 19 before?                                                19 Q Did you see this document in connection with
 20      MS. KONKOLY: I am going to object on the          20 the Boston Globe reporting just discussed?
 21 basis of SSI, potentially law enforcement privilege,   21      MS. KONKOLY: I'm going to object insofar as
 22 and I'm instructing the witness not to answer any      22 the full -- insofar as the answer calls for any
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                     Transcript of Hao-y Tran Froemling, Designated Representative                 16 (61 to 64)

                                     Conducted on October 4, 2018
                                                   61                                                         63
 1 information protected by SSI, but you can answer yes    1 protected by SSI, and I'm instructing the witness
 2 or no.                                                  2 not to answer.
 3     A Yes, as part of the exhibit provided for          3     Q Does the TSA have any internal policy
 4 this deposition.                                        4 documents about the Quiet Skies program?
 5     Q Is this an official TSA document?                 5        MS. KONKOLY: Objection insofar as the
 6       MS. KONKOLY: And I'm going to object on the       6 complete answer would call for information protected
 7 basis of SSI, potentially law enforcement privilege,    7 by SSI, but you can answer yes or no.
 8 and instruct the witness not to answer that             8     A Yes.
 9 question.                                               9     Q Is this one of those documents?
 10 Q At the top left of the document, is that the         10       MS. KONKOLY: Objection on the basis of SSI.
 11 Federal Air Marshal Service seal?                      11 I'm  instructing the witness not to answer that
 12      MS. KONKOLY: Objection on the basis of SSI.       12 question.
 13 I'm going to instruct the witness not to answer that   13 Q All right. You've previously testified that
 14 question.                                              14 the Federal Air Marshal special mission coverage for
 15 Q On the top right of the document, is that a          15 Quiet Skies selectees began in March 2018, correct?
 16 TSA seal?                                              16 A Yes.
 17      MS. KONKOLY: I'm going to again object on         17 Q Did it begin specifically on March 13, 2018?
 18 the basis of SSI and instruct the witness not to       18       MS. KONKOLY: I'm going to object to that
 19 answer.                                                19 question as calling for SSI, and I'm going to
 20 Q Does the top of this document state that it          20 instruct the witness not to answer.
 21 is a Transportation Security Administration            21 Q Your declaration -- we were at paragraph ten
 22 document?                                              22 a minute ago -- stated that the TSA adopt rules to
                                                   62                                                         64
 1       MS. KONKOLY: You're --                            1 mitigate the threat posed by -- and now I'm going to
 2     Q   Let me clarify that. At the top of the          2 quote -- "unknown or partially known terrorists
 3 document do the words "Transportation Security          3 based on current intelligence on terrorist travel
 4 Administration Office of Law Enforcement/Federal Air    4 and tradecraft." Is that correct, your declaration
 5 Marshal Service" appear?                                5 said that?
 6     A Yes.                                              6     A Yes, my declaration says that we need to
 7     Q Okay. And do you understand that this             7 mitigate the threat to commercial aviation posed by
 8 document purports to be titled, in this top gray bar    8 unknown or partially known terrorists based on
 9 that's somewhat hard to read, "Information bulletin     9 analysis of current intelligence and terrorist
 10 Quiet Skies selectees"?                                10 travel and tradecraft.
 11      MS. KONKOLY: I'm going to object that is          11 Q Okay. And then turning back to Exhibit 3,
 12 very  difficult to read from this copy what is in      12 the first full, plain text paragraph, this exhibit
 13 that bar. If you can read it and --                    13 says that, quote, "The purpose of the Quiet Skies
 14 A To the extent I can see that that matches            14 program is to mitigate the threat to commercial
 15 what you just stated, yes.                             15 aviation posed by unknown or partially known
 16 Q Okay. And the first bold heading below that          16 terrorists." Did I read that correctly?
 17 gray bar says, "TSA's Quiet Skies Program," correct?   17 A You did.
 18 A It is listed there, yes.                             18 Q Okay. And then the sentence goes on and
 19 Q Does the TSA have an internal bulletin               19 says that this is, quote, based on analysis of
 20 regarding the Quiet Skies program?                     20 terrorist travel trends, comma, tradecraft and
 21      MS. KONKOLY: Objection insofar as --              21 associations. Did I read that correctly?
 22 objection,  the answer calls for information           22 A You did read it correctly.
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                      Transcript of Hao-y Tran Froemling, Designated Representative                17 (65 to 68)

                                      Conducted on October 4, 2018
                                                    65                                                        67
 1     Q Is an individual's associations a factor          1 of SSI and instructing the witness not to answer
 2 considered by Quiet Skies selectees rules?              2 that question.
 3       MS. KONKOLY: Objection, that question calls       3     Q Do traditional special mission coverage
 4 for information protected by SSI, and I'm going to      4 subjects include individuals on the selectee list?
 5 instruct the witness not to answer.                     5       MS. KONKOLY: I'm again objecting as to
 6     Q Skipping down in Exhibit 3 to the third           6  scope  and objecting as to SSI and instructing the
 7 bullet point, it states, "Quiet Skies rules target      7 witness not to answer.
 8 specific travel patterns or affiliations." Did I        8     Q Do traditional special mission coverage
 9 read that correctly?                                    9 subjects include individuals on the expanded
 10 A Yes.                                                 10 selectee list?
 11 Q Are an individual's affiliations a factor            11      MS. KONKOLY: Again, objection as to scope;
 12 considered by Quiet Skies rules to designate them as   12 objection, SSI; and I'm instructing the witness not
 13 high-risk passengers?                                  13 to answer.
 14      MS. KONKOLY: And I'm objecting on the basis       14 Q What is the name of the policy manual that
 15 of SSI and instructing the witness not to answer       15 TSA has that includes information on Quiet Skies?
 16 that question. Let me also object on the basis of      16      MS. KONKOLY: Objection, vague. Objection
 17 law enforcement and provide the same instruction on    17 insofar as the answer calls for information
 18 that basis as well.                                    18 protected by SSI. And I'm also going to object to
 19 Q Skipping down to -- on Exhibit 3, beneath            19 foundation.
 20 where it says, "Special Mission Coverage," it          20      MS. HOMER: That's a fair objection. Let me
 21 states, "Quiet Skies selectees are different from      21 start over, though I do think I asked that earlier.
 22 traditional SMC subjects because they are not under    22 Q Does the TSA have any policy or procedure
                                                    66                                                        68
 1 investigation by any agency and are not in the          1 manuals it provides to its employees regarding the
 2 terrorist screening database." Did I read that          2 Quiet Skies program?
 3 correctly?                                              3       MS. KONKOLY: Objection insofar as the
 4 A Yes.                                                  4 question calls for any information protected by SSI,
 5     Q What is a traditional special mission             5 but you can answer that one to the extent you can.
 6 coverage subject?                                       6    A Yes.
 7       MS. KONKOLY: Objection. That question             7    Q What are the names of those manuals?
 8 calls for information protected by SSI, and I'm         8       MS. KONKOLY: Again, objection insofar as
 9 going to instruct the witness not to answer.            9 the question calls for information protected by SSI.
 10 Q Do the Federal Air Marshals monitor every            10 You can answer that one to the extent you can. I
 11 individual on the TSDB who flies on a commercial       11 will again interpose the question is vague.
 12 aircraft?                                              12 A I do not actually know the name of given
 13      MS. KONKOLY: I'm going to first object as         13 manuals. We do have policy documents regarding the
 14 to scope, as that being outside of the scope of the    14 implementation of our Quiet Skies. I don't know the
 15 designated topics for this deposition, but I'm also    15 name.
 16 going to object on the basis of SSI, and I instruct    16 Q What is the name of the policy document that
 17 the witness not to answer based on that ground.        17 implements Quiet Skies?
 18 Q Do traditional special mission coverage              18      MS. KONKOLY: Same objections, also asked
 19 subjects include individuals on the no-fly list?       19 and answered.
 20      MS. KONKOLY: I'm going to again object as         20 A I do not know the name of the document.
 21 to scope. That would be outside of the designated      21 Q Does the TSA have policy documents regarding
 22 topics again. And I'm again objecting on the basis     22 the operation of the Silent Partner program?
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                      Transcript of Hao-y Tran Froemling, Designated Representative                 18 (69 to 72)

                                      Conducted on October 4, 2018
                                                    69                                                         71
 1        MS. KONKOLY: Again, objection insofar as         1     Q Does being an individual listed in the
 2 the answer calls for any information protected by       2 contact list of a TSDB individual's phone form a
 3 SSI; objection, vague; but you can answer to the        3 basis to trigger any high-risk rules?
 4 extent that you can.                                    4       MS. KONKOLY: I'm, again, objecting on the
 5      A Yes.                                             5 basis of the law enforcement privilege and SSI, and
 6      Q What are the names of the policy documents       6 I'm again instructing the witness not to answer that
 7 that TSA has regarding the implementation of the        7 question.
 8 Silent Partner program?                                 8     Q In your declaration you referred to current
 9        MS. KONKOLY: Same objections, vague, and         9 intelligence on terrorist travel and tradecraft.
 10 insofar as it calls for any information protected by   10      MS. KONKOLY: Can you please identify the
 11 SSI, but you can answer if you can.                    11 paragraph?
 12 A I do not know the specific name of the               12 Q Yeah, so paragraph ten. It was where we
 13 document. I think the best I can say is --             13 were earlier, so Exhibit 2, paragraph ten. So I'm
 14 referring back to my prior statement is that it's      14 going to elide a bit of the sentence, but it says
 15 primarily memorialized in the memo of our              15 TSA conducted its own review of the existing threats
 16 implementation to these rules. I do not know the       16 to aviation security, ellipses, based on analysis of
 17 name of the document.                                  17 current intelligence on terrorist travel and
 18 Q Does the TSA consider family members of TSDB         18 tradecraft.
 19 listees to be unknown or partially known terrorists?   19      Do you see the portion I'm referring to?
 20       MS. KONKOLY: Objection as to scope.              20 A Yes.
 21 Objection, that question calls for information         21 Q Okay.
 22 protected by SSI, and also the law enforcement         22      MS. KONKOLY: Could you actually read the
                                                    70                                                         72
 1 privilege. You can answer that one to the extent        1 entire sentence for context?
 2 that you can.                                           2     Q Sure. "TSA conducted its own review of the
 3      A I'm sorry, could you repeat the question?        3 existing threats to aviation security and determined
 4      Q Does the TSA consider family members of TSDB     4 that it needed to mitigate the threat to commercial
 5 listees to be unknown or partially known terrorists?    5 aviation posed by unknown or partially known
 6        MS. KONKOLY: Same objections, but you can        6 terrorists based on analysis of current intelligence
 7 answer to the extent that you can.                      7 on terrorist travel and tradecraft."
 8      A So as I discussed on the unknown or              8       Did I read that sentence correctly?
 9 partially known, it is more related to whatever         9 A Yes.
 10 particular threat is identified to aviation or         10 Q What is the definition of terrorist
 11 homeland security. So to the extent, if it also so     11 tradecraft?
 12 happens that they -- individuals are designated as     12      MS. KONKOLY: Objection insofar as that
 13 higher risk and are designated for enhanced            13 answer calls for information protected by the law
 14 screening, by virtue of that they may. But TSA         14 enforcement privilege and SSI, and I'm instructing
 15 directly does not just say, okay, these are our        15 the witness not to answer that question.
 16 unknown or partially known, therefore all family       16 Q Can you give me any examples even at a high
 17 members, to your question.                             17 level of what constitutes terrorist tradecraft?
 18 Q Does being a family member of a TSDB listee          18      MS. KONKOLY: I am going to again object on
 19 trigger the application of any high-risk rules?        19 the basis of SSI and the law enforcement privilege,
 20       MS. KONKOLY: Objection on the basis of SSI,      20 and I'm instructing the witness not to answer that
 21 the law enforcement privilege, and I'm instructing     21 question.
 22 the witness not to answer that question.               22 Q Turning back to Exhibit 3, does this
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                     Transcript of Hao-y Tran Froemling, Designated Representative                19 (73 to 76)

                                     Conducted on October 4, 2018
                                                   73                                                        75
 1 document reflect TSA policy -- that won't work. Let    1     Q Does the TSA work with any foreign
 2 me start over.                                         2 government agencies to create or implement its
 3       Do the details about the Quiet Skies program     3 high-risk rules?
 4 you disclosed in your declaration match the            4       MS. KONKOLY: I'm going to object on the
 5 information in Exhibit 3?                              5 basis of SSI, law enforcement privilege. You can
 6       MS. KONKOLY: I'm going to object on the          6 answer that one to the extent that you can.
 7 basis of SSI and the law enforcement privilege and     7     A So also as discussed previously, because you
 8 instruct the witness not to answer that question.      8 said create and implement, I want to make sure the
 9     Q What other Federal Government agencies are       9 way I'm interpreting it is TSA independently
 10 involved in the creation of the TSA's risk-based,     10 assesses the current intelligence to identify
 11 intelligence-driven rules?                            11 threats. TSA independently creates the rules,
 12      MS. KONKOLY: Objection insofar as that           12 coordinates with CBP.
 13 answer calls for information protected by the law     13      We do not coordinate with any, as stated
 14 enforcement privilege and SSI, as well as the state   14 earlier, other federal agencies nor foreign
 15 secrets privilege potentially, and I'm instructing    15 governments to create the rules. When you state
 16 the witness not to answer that question.              16 implement, as I discussed previously, we identify
 17 Q What other federal agencies provide                 17 these rules, identify passengers that present a
 18 intelligence that inform TSA's creation of            18 higher risk and therefore require enhanced
 19 risk-based rules?                                     19 screening.
 20      MS. KONKOLY: I'm going to again object           20      So to the extent that passengers abroad
 21 based on the law enforcement privilege, SSI,          21 require enhanced screening, those foreign
 22 potentially state secrets privilege, and I'm going    22 governments may be involved in the -- if you want to
                                                   74                                                        76
 1 to again instruct the witness not to answer.           1 say implementation in the conducting the actual
 2     Q What federal agencies assist with the            2 screening activities, physical screening activities.
 3 implementation of the TSA's high-risk rules?           3     Q What federal agencies have the authority to
 4       MS. KONKOLY: Objection insofar as that           4 approve or disapprove specific risk-based rules?
 5 calls for information protected by SSI or the law      5       MS. KONKOLY: Objection insofar as that
 6 enforcement privilege, but you can answer that one     6 question calls for any information protected by SSI,
 7 to the extent that you can.                            7 but you can answer that one to the extent that you
 8     A Sure. As discussed previously, TSA does          8 can.
 9 coordinate with CBP to implement its -- TSA's          9     A So TSA-specific, high-risk-based rules, it
 10 derived rules into CBP's system to identify           10 is under our administrator's authority to -- sorry,
 11 passengers that meet TSA's higher risk rules.         11 was the word "approve" or "implement"?
 12 Q Aside from CBP, do any other federal                12 Q Approve or disapprove.
 13 agencies assist with the implementation of TSA's      13 A -- approve and disapprove the rules.
 14 high-risk rules?                                      14 Q Can the Secretary of the Department of
 15      MS. KONKOLY: I'm going to again object           15 Homeland Security override the TSA administrator's
 16 based on SSI and the law enforcement privilege, but   16 determination?
 17 you can answer that one to the extent that you can.   17 A So to the -- sorry.
 18 A So for the actual creation of the rules,            18      MS. KONKOLY: Let me just object. To the
 19 it's TSA coordinating with CBP because we implement   19 extent that there is any information, the answer
 20 our rules in CBP's system. So, no, we do not work     20 calls for information protected by SSI, but you can
 21 with other agencies to create TSA's high-risk         21 answer to the extent that you can.
 22 passenger rules.                                      22 A Right. So generally speaking, the TSA is a
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                     Transcript of Hao-y Tran Froemling, Designated Representative                 20 (77 to 80)

                                     Conducted on October 4, 2018
                                                   77                                                         79
 1 component of the Department of Homeland Security.       1           (The Reporter read the record as
 2 The Secretary for Homeland Security therefore has       2 follows: Is there any individual outside of the
 3 the same authorities as our administrator, and our      3 Department of Homeland Security who has authority to
 4 administrator does report to the Secretary of           4 approve or disapprove specific TSA risk-based
 5 Homeland Security, so, she therefore, yes, does have    5 rules?)
 6 authority.                                              6       MS. KONKOLY: And I'm just going to again
 7      Q Is there any individual outside of the           7 object that that calls for a legal conclusion, but
 8 Department of Homeland Security who has authority to    8 you can answer to the extent that you can.
 9 approve or disapprove specific TSA risk-based rules?    9     A So I'm not the legal authority, but I
 10       MS. KONKOLY: I'm going to object that this       10 suppose in the broader scheme of just overall
 11 line of questioning calls for a legal conclusion,      11 authorities it could be the President that would
 12 also insofar as the answer implicates any SSI. You     12 also have authorities to approve or disapprove. But
 13 can answer to the extent that you can.                 13 I want to clarify that the administrator is the one
 14 A So I'm trying to -- so no other federal              14 with the authority, TSA.
 15 agency approves or disapproves TSA's high-risk         15 Q What federal agencies provide input into the
 16 rules, to your question was, does any other            16 creation of the TSA's high-risk rules?
 17 authority --                                           17      MS. KONKOLY: I'm going to object insofar as
 18 Q Outside of DHS.                                      18 that question calls for information protected by SSI
 19 A -- outside of DHS.                                   19 and also object on grounds of vagueness. You can
 20       MS. KONKOLY: Same objections.                    20 answer to the extent that you can.
 21 A Can I get like ten seconds just to clarify           21 A So it is -- to the extent that I can answer,
 22 if I state something, take a break, just to confirm?   22 TSA conducts an independent assessment of current
                                                   78                                                         80
 1        MS. HOMER: Yeah. Can we go off the record?       1 intelligence threat reporting to derive its rules.
 2        THE VIDEOGRAPHER: Stand by for a moment.         2 As far as input, this is more of back to the
 3        MS. KONKOLY: Can we take just a five-minute      3 discussion of oversight of we do review on a
 4 break actually?                                         4 quarterly basis with DHS, civil rights and
 5        MS. HOMER: Yeah, that's fine.                    5 liberties, with privacy and our chief counsel,
 6        THE VIDEOGRAPHER: All right. Well, then,         6 general counsel with the department regarding TSA's
 7 I'm going to change tapes, so please stand by.          7 implementation of the rules.
 8        MS. HOMER: Okay.                                 8     Q What other --
 9        THE VIDEOGRAPHER: This marks the end of          9        MS. KONKOLY: Did you want to -- could we do
 10 disc number one in the videotaped deposition of        10 those clarifications?
 11 Hoa-y Tran Froemling. We are going off the record      11       MS. HOMER: Oh, I'm sorry. Please go ahead.
 12 at 12:26 p.m.                                          12       MS. KONKOLY: Okay. Before we lose track of
 13       (Off the record.)                                13 those.
 14       THE VIDEOGRAPHER: This marks the beginning       14       Ms. Froemling, did you want to offer any
 15 of disc number two. We are back on the record at       15 clarification regarding the testimony you provided
 16 12:48 p.m.                                             16 earlier this morning regarding the definition of --
 17       MS. HOMER: Counsel, you said you had some        17 or your statement regarding an unknown or partially
 18 clarifications? Or we should answer the --             18 known terrorist --
 19       MS. KONKOLY: We had an open question so if       19       THE WITNESS: Yes.
 20 we  could   close that.                                20       MS. KONKOLY: -- as you referenced that term
 21       MS. HOMER: Could you read back the question      21 in your declaration?
 22 before we left?                                        22       THE WITNESS: Yes. So I believe the
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                      Transcript of Hao-y Tran Froemling, Designated Representative                   21 (81 to 84)

                                      Conducted on October 4, 2018
                                                      81                                                         83
 1 question -- two parts to the question. For unknown        1 to the extent you can.
 2 and partially known terrorists and terrorist              2     A So it would depend on the particular threat,
 3 activities, TSA devises rules to identify passengers      3 so depending, because unknown can be -- unknown and
 4 that may present a high risk?                             4 partially known is a broad term. Depending on the
 5        I want to be very clear that matching to one       5 threat it could be a broader -- so I think, yes, to
 6 of these rules does not mean that every individual        6 the extent of we do not know actual individuals
 7 that matches to these rules are considered to be          7 designated as unknown or partially known terrorists,
 8 unknown or partially known terrorists. These rules        8 because at that point they would be known.
 9 are established to mitigate the threat from unknown       9       So to the extent that we identify a threat
 10 or partially known terrorists. That's part one.          10 we're establishing, that may encompass multiple
 11       And then the clarification to your question        11 different areas and different things. I'm sorry.
 12 of are family members on the TSDB considered to be       12 It's a very broad question so to the extent I can,
 13 part of the unknown or partially known terrorist,        13 I'm trying to answer it. It may depending on the
 14 TSA -- no, TSA does not, again, automatically            14 particular threat.
 15 consider family members of TSDB listees to be            15      MS. HOMER: Did you have another cleanup
 16 unknown or partially known terrorists. So the two        16 question?
 17 tied together.                                           17      MS. KONKOLY: There were two more, if you
 18       We establish rules to mitigate the threat          18 don't mind, quickly.
 19 that's been identified to aviation, homeland             19      MS. HOMER: Okay.
 20 security, from unknown and partially known               20      MS. KONKOLY: Ms. Froemling, did you also
 21 terrorists, which may then identify passengers that      21 want  to clarify your earlier testimony regarding the
 22 could present a higher level of risk. It is not one      22 potential existence of oversight reports related to
                                                      82                                                         84
 1 for one equal.                                            1 the quarterly reviews of the rules programs?
 2 BY MS. HOMER:                                             2        THE WITNESS: Right. We have a quarterly
 3     Q Are there any individuals that the TSA has          3 review with our DHS oversight offices. There's no
 4 labeled that individual as an unknown or partially        4 actual report that I'm aware of that TSA creates as
 5 known terrorist?                                          5 a result of those quarterly governance reviews with
 6       MS. KONKOLY: I'll object insofar as that            6 our DHS civil rights and civil liberties and then
 7  question   calls for any information protected by SSI,   7 privacy, general counsel, et cetera.
 8 and vagueness, but you can answer to the extent that      8        MS. KONKOLY: And did you also want to
 9 you can.                                                  9 clarify your testimony from earlier this morning
 10 A So I think by definition, again, it's                  10 with respect to foreign government involvement with
 11 unknown, partially known, so we do not know the          11 implementation of the risk-based rules?
 12 individuals. So all we could -- what we do is we         12       THE WITNESS: Right. I wanted to make sure
 13 implement rules to identify passengers who may           13 it's very, very clear. In the beginning, earlier
 14 present a higher risk to mitigate the threat from        14 this morning, I discussed TSA as part of a secure
 15 unknown or partially known.                              15 flight provides back to air carriers for overseas,
 16 Q So would it be fair to say that the unknown            16 for international travel of those passengers that
 17 or partially known terrorist label, like encompasses     17 require enhanced screening.
 18 a broad group of high-risk characteristics but not       18       It could be for multiple reasons not just
 19 necessarily specific persons?                            19 whether they were matched to a rule or matches to
 20      MS. KONKOLY: Objection insofar as the               20 individuals on the -- a selectee. It could be
 21 answer calls for anything protected by SSI, but --       21 random, multiple reasons. Air carriers are aware of
 22 and law enforcement privilege, but you can answer it     22 passengers have been designated for enhanced
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Case 1:16-cv-00375-AJT-JFA Document 262-3 Filed 02/15/19 Page 24 of 58 PageID# 9069
                      Transcript of Hao-y Tran Froemling, Designated Representative                  22 (85 to 88)

                                      Conducted on October 4, 2018
                                                     85                                                         87
 1 screening. They don't know any other information.       1 to scope of the designated topics for this
 2 They don't know the reason why.                         2 deposition. I'm going to object on grounds of
 3       So when it goes to the follow-on question of      3 vagueness, also SSI and the law enforcement
 4 are any foreign governments involved in the             4 privilege. You can answer if you know, to the
 5 implementation of rules I want to go back to they       5 extent that you can.
 6 are aware, if they are a part -- with the carriers      6     A I do not believe I know other than the fact
 7 conducting any of the physical screening related to     7 that they -- a passenger, as we discussed in prior
 8 enhanced screening, they are aware if passengers        8 testimony, the carrier would receive information and
 9 have been designated for enhanced screening. They       9 ask to put on the boarding pass a designation for
 10 are not made aware that these individual passengers    10 enhanced screening, so to the extent that that
 11 have been matches to high-risk rules versus any        11 boarding pass is visible to the passenger and
 12 other reason.                                          12 others. I don't know that I can answer regarding
 13 Q So foreign airlines or partners or                   13 foreign governments sharing that designation on a
 14 governments would not know that a specific             14 boarding pass.
 15 individual was a Quiet Skies or Silent Partner         15 Q So going back to where we were earlier, do
 16 selectee?                                              16 members of the watch listing advisory council
 17      MS. KONKOLY: Objection insofar as that            17 provide recommendations for input to the TSA about
 18 question calls for any information protected by SSI,   18 the creation of specific high-risk rules?
 19 but you can answer to the extent you can.              19      MS. KONKOLY: I'm going to object insofar as
 20 A That is correct, when we are providing back          20 the answer calls for any information protected by
 21 the indicator for enhanced screening that is all       21 SSI or the law enforcement privilege, but you can
 22 that is provided to them.                              22 answer if you can.
                                                     86                                                         88
 1     Q What restrictions are there on foreign            1     A No. As part of my declaration, just to
 2  governments    sharing information about which         2  reiterate,  the watch listing advisory council is not
 3 passengers have been identified as the U.S. as          3 involved in TSA or provide input into TSA's
 4 higher risk and requiring enhanced screening?           4 determination of high-risk rules.
 5        MS. KONKOLY: I'm going to object as to           5     Q Do any members of the watch listing advisory
 6 scope. I'm going to object on the basis of SSI and      6 council discuss the specific criteria for TSA
 7 the law enforcement privilege. But you can answer       7 high-risk rules with the TSA in any way?
 8 if you know and to the extent that you can.             8       MS. KONKOLY: I'm going to object on the
 9     A I'm not sure. So the question is what             9 basis of the deliberative process privilege insofar
 10 restrictions on foreign governments are -- I'm         10 as the information calls -- the question calls for
 11 sorry.                                                 11 information protected by SSI or the law enforcement
 12 Q So let me break it down. You just                    12 privilege, but you can answer.
 13 testified, correct, that the foreign government is     13 A Let me answer this -- in the sense of acting
 14 aware that an individual requires enhanced             14 as a member of the watch listing advisory
 15 screening, correct?                                    15 committee -- council, sorry, they do not discuss
 16 A The foreign party. If the government is              16 regarding input or creation of the rules or have any
 17 involved with the air carrier and performing           17 part in formulation and TSA's implementation of the
 18 screening, then yes.                                   18 rules as to whether any member may have discussed it
 19 Q Okay. What restrictions are there to                 19 or brought it up in its awareness if TSA has
 20 prevent the foreign party from sharing that            20 implemented it. It may have occurred but not in a
 21 high-risk designation more broadly?                    21 formal capacity of providing any advisory or other
 22       MS. KONKOLY: I'm going to again object as        22 capacity.
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                      Transcript of Hao-y Tran Froemling, Designated Representative               23 (89 to 92)

                                      Conducted on October 4, 2018
                                                    89                                                       91
 1       Also CBP is also a partner, so to the extent     1 any information protected by SSI or law enforcement
 2 not as a watch listing advisory member but in its      2 implicated in that answer. You can answer.
 3 component as CBP, TSA obviously does implement its     3     A No, I do not believe TSA gives our rules to
 4 rules in CBP's systems for high-risk passengers.       4 the TSC.
 5    Q What federal agencies have access to or           5     Q Does the TSA give its rules to the FBI?
 6 knowledge of the specific criteria of specific         6       MS. KONKOLY: Objection insofar as the
 7 high-risk rules created by the TSA?                    7 answer calls for any information protected by SSI or
 8       MS. KONKOLY: Objection insofar as that           8 the law enforcement privilege, but you can answer if
 9 question calls for any information protected by SSI    9 you know.
 10 or the law enforcement privilege. You can answer if   10 A No, I do not believe TSA gives its rules to
 11 you can.                                              11 the FBI.
 12 A I'm sorry, what members of any federal              12 Q Are Federal Air Marshals automatically
 13 agency -- I'm sorry.                                  13 assigned to flights containing Quiet Skies
 14 Q Yeah. What federal agencies know what the           14 selectees?
 15 TSA's high-risk rules are?                            15      MS. KONKOLY: Objection. That calls for
 16      MS. KONKOLY: Same objections, and I'll add       16 information  protected by SSI. And you can answer to
 17 that Ms. Froemling is here to testify on behalf of    17 the extent -- you can answer to the extent that you
 18 TSA only as well today.                               18 can without waiving the privilege.
 19 A So I can speak in the capacity of CBP is            19 A Okay. At a high level, depending on air
 20 another federal agency. TSA is obviously              20 marshal availability, Federal Air Marshals are
 21 implementing its rules in CBP's systems. TSA also     21 assigned on flights that have Quiet Skies high-risk
 22 reviews the rules with DHS, privacy, civil rights,    22 passengers on them.
                                                    90                                                       92
 1 and liberties, general counsel bodies. As to other     1     Q Who determines the specific assignments for
 2 federal agencies, I do not --                          2 specific air marshals to specific flights?
 3     Q Does the terrorist --                            3        MS. KONKOLY: Objection insofar as that
 4     A -- know of the actual rules.                     4 answer calls for information protected by SSI. You
 5     Q Does the Terrorist Screening Center know         5 can answer to the extent you can without waiving.
 6 what the TSA's specific high-risk rules are?           6     A At high level it's TSA and it's the Federal
 7       MS. KONKOLY: I'm going to again object           7 Air Marshal's office.
 8 insofar as the answer implicates any SSI, object       8     Q Are Federal Air Marshals automatically
 9 vagueness, and, again, reiterate that Ms. Froemling    9 assigned as soon as a Quiet Skies rule is triggered,
 10 is here to testify on behalf of TSA only. You can     10 or is there a prioritization or discretionary
 11 answer if you know. Let me also add law enforcement   11 process regarding those assignments?
 12 to the potential grounds.                             12       MS. KONKOLY: Objection insofar as that
 13 A Generally speaking, no, in the sense of us          13 question calls for information protected by SSI.
 14 sharing or reviewing rules with TSC. In the -- they   14 You can answer to the extent that you can.
 15 are aware of TSA's implementing high-risk passenger   15 A So at a high level there's multiple factors
 16 rules overall and our process, but I do not believe   16 that go into the assignment of Federal Air Marshals
 17 we review -- we do not review our rules with the      17 on flights and prioritization, availability,
 18 TSC.                                                  18 multiple factors, logistics, everything.
 19 Q Okay. So to clarify, the TSA does not give          19       So there is a process that would go into
 20 details of the specific criteria for specific         20 effectively  the prioritization based on Federal Air
 21 high-risk rules to the Terrorist Screening Center?    21 Marshal availability to deploy FAMS on our high
 22      MS. KONKOLY: Objection insofar as there is       22 risk -- high security risk flights.
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                      Transcript of Hao-y Tran Froemling, Designated Representative                24 (93 to 96)

                                      Conducted on October 4, 2018
                                                     93                                                      95
 1     Q Would you agree that human officials at the       1 I cannot speculate on --
 2 TSA exercise discretion regarding the prioritization    2     Q Does the TSA evaluate the effectiveness of
 3 of Federal Air Marshal assignments?                     3 Quiet Skies and Silent Partner?
 4       MS. KONKOLY: Again, I'll object insofar as        4       MS. KONKOLY: Objection insofar as the
 5 the answer calls for any information protected by       5 answer implicates any SSI, but you can answer.
 6 SSI. You can answer that one to the extent you can.     6     A Yes, TSA is continually reviewing the
 7     A So at a high level there is human                 7 results of the rules, the high-risk passenger rules
 8 involvement in the assignment of Federal Air            8 that it implements. It also compares it continually
 9 Marshals. So to the extent as performing their          9 evaluating the current intelligence threat.
 10 duties there's a review and steps involved that is     10      And as stated earlier, we have set
 11 not 100 percent all system generated in order to be    11 independent of TSA identifying passengers as being
 12 able to assign Federal Air Marshals to flights.        12 Quiet Skies or Silent Partner higher risk, it has
 13 Q What prevents the TSA officials who are              13 been identified -- confirmed that individuals have
 14 making the final air marshal assignments from using    14 been added to the TSDB.
 15 a race or religion as a factor in those assignments?   15      TSA has evaluated from an effectiveness
 16      MS. KONKOLY: Objection, vague.                    16 perspective, has also identified that Quiet Skies
 17 A So TSA does not use race or religion in its          17 passengers independent of being identified as a
 18 rules to identify high-risk passengers. So to the      18 Quiet Skies rules-based passenger have been added to
 19 same extent FAMS and scheduling as a part of that we   19 the TSDB subsequent to that at a higher rate than
 20 do not use race or religion in assignment of Federal   20 any other passengers. So TSA -- yes, TSA does
 21 Air Marshals on flights.                               21 evaluate the effectiveness of its high-risk rules.
 22 Q Has race or religion ever been a                     22 Q Can being flagged by a TSA high-risk rule
                                                     94                                                      96
 1 consideration that a TSA employee or Federal Air        1 constitute derogatory information supporting a
 2 Marshal has used --                                     2 nomination to the TSDB?
 3        MS. KONKOLY: Objection.                          3        MS. KONKOLY: I'm going to object insofar as
 4      Q -- regarding their assignment?                   4 that question calls for any information protected by
 5        MS. KONKOLY: Objection, vague. Objection         5 SSI or the law enforcement privilege. You can
 6 as to the scope of the designated topics for this       6 answer to the extent that you can.
 7 deposition, but you can answer. Let me also object      7     A No. To reiterate my statement in the
 8 insofar as there's any SSI implicated in the answer,    8 declaration, simply matching to rules to designate
 9 but you can answer.                                     9 high risk is not viewed as derogatory information to
 10 A I can state that TSA at large does not use           10 be nominated into the TSDB. These rules are to
 11 race or religion in its identification of high-risk    11 identify passengers that may present an elevated
 12 passengers and assignments of flights.                 12 risk.
 13 Q Has any TSA official ever used race or               13       It goes back to my clarification again of
 14 religion in the course of carrying out their           14 simply matching to the rule. It does not constitute
 15 assignment?                                            15 that the individual is considered a terrorist or
 16       MS. KONKOLY: I'm going to again object as        16 considered the partially known terrorist direct. It
 17 to  the scope of the designated topics for the         17 is an indication that these passengers present an
 18 deposition, object insofar as there is any SSI         18 elevated risk.
 19 implicated in the answer, calls for speculation at     19 Q How does an individual who is identified as
 20 some level. But you can answer.                        20 presenting an elevated risk end up on the TSDB?
 21 A Not that I'm aware of by policy, by process,         21       MS. KONKOLY: Objection as to scope.
 22 policy operations, we do not use race or religion.     22 Objection insofar as the answer calls for any
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Case 1:16-cv-00375-AJT-JFA Document 262-3 Filed 02/15/19 Page 27 of 58 PageID# 9072
                      Transcript of Hao-y Tran Froemling, Designated Representative                25 (97 to 100)

                                      Conducted on October 4, 2018
                                                    97                                                        99
 1 information protected by the law enforcement            1 but you can answer to the extent you can.
 2 privilege or SSI. You can answer if you happen to       2     A So the Federal Air Marshals data retention
 3 know, but -- to the extent you can.                     3 of their activities is five years.
 4      A For those that have been -- so each              4     Q Has the TSA prepared any reports on the
 5 individual that has been subsequently added, I          5 effectiveness of its risk-based rules?
 6 cannot speak to how, but I can speak definitively       6       MS. KONKOLY: Objection insofar as the
 7 that by virtue of just simply matching to a Quiet       7 question calls for anything protected by SSI. You
 8 Skies rule has not been reason to be nominated to       8 can answer if you can.
 9 the TSDB.                                               9     A There's, to my knowledge, no formal reports
 10       There's multiple criteria and factors just       10 of the effectiveness. We do -- our analysts do
 11 overall, regardless of high risk -- of -- regardless   11 review the results of rules and how they match to
 12 of whether you've matched to a high-risk rule.         12 examine are they meeting the current intelligence.
 13 There's multiple criteria that must be met in order    13 I'm not aware of formal reports regarding
 14 to be added to the TSDB.                               14 effectiveness.
 15 Q Has a Quiet Skies or Silent Partner selectee         15 Q How does the TSA determine that its rules
 16 ever been nominated to the TSDB as a result of the     16 are effective?
 17 special mission coverage report about a specific       17      MS. KONKOLY: Objection insofar as that
 18 trip prepared by an air marshal?                       18 calls for any information protected by SSI, but you
 19       MS. KONKOLY: I'm going to object. I              19 can answer to the extent you can.
 20 believe this question has been asked and answered.     20 A So TSA has been conducting analysis, as I
 21 Objection insofar as the question calls for any SSI    21 stated earlier, where we have identified separately,
 22 or law enforcement privilege information. You can      22 not as a result of being identified as a match to a
                                                    98                                                       100
 1 answer again to the extent you can.                     1 Quiet Skies or Silent Partner rule. We have
 2     A No.                                               2 identified that individuals that have matched have
 3     Q How long does the TSA retain information on       3 independently been added to the TSDB, again, as a
 4 passengers who have been flagged as a Quiet Skies or    4 part of its validation of effectiveness. So
 5 Silent Partner selectee?                                5 that's -- yeah.
 6       MS. KONKOLY: Objection insofar as the             6    Q Are Quiet Skies rules ever deactivated
 7  question calls for any information protected by SSI.   7  because  they have been proven ineffective?
 8 You can answer that to the extent you can.              8       MS. KONKOLY: Objection insofar as that
 9     A So the details of -- the detailed                 9 calls for information protected by SSI. You can
 10 information of matches to Quiet Skies and Silent       10 answer to the extent that you can.
 11 Partner rules are reviewed in the Office of            11 A So I'm going to rephrase. I'm not going to
 12 Intelligence -- TSA's Office of Intelligence           12 say they've been activated because they've been
 13 Analysis for two years.                                13 proven ineffective. We do, by virtue of
 14      As -- broadly, as part of our secure flight       14 continuously reviewing current intelligence
 15 data retention information, those -- just matches,     15 reporting related to the threat, can and will and
 16 not details regarding the rules, to high-risk          16 have deactivated rules if the threat is no longer
 17 passenger rules are retained for seven years.          17 present or is over, so not just as part of a
 18 Q How long does the TSA retain any Federal Air         18 quarterly review.
 19 Marshal special mission coverage reports about Quiet   19      We're continuously reviewing the threat when
 20 Skies or Silent Partner selectees?                     20 we have   identified whether -- if it's -- the threat
 21      MS. KONKOLY: I'll again object insofar as         21 has evolved or is no longer present, we will
 22 the question calls for information protected by SSI,   22 deactivate the rule. But that is not because of
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                      Transcript of Hao-y Tran Froemling, Designated Representative                26 (101 to 104)

                                      Conducted on October 4, 2018
                                                     101                                                     103
 1 ineffectiveness.                                        1       MS. KONKOLY: I'm going to again object on
 2     Q I want you to turn to tab six of your             2 the basis of SSI. You can answer that one to the
 3 binder, which will now get marked as Exhibit 4. And     3 extent you can.
 4 this is a story from NPR that was published on          4     A Yes. As stated in my declaration, TSA
 5 July 30, 2018.                                          5 doesn't have a process to maintain a list of those
 6            (Froemling Deposition Exhibit 4 was          6 passengers that have been identified as not being a
 7 marked for identification and attached to the           7 high risk or presenting a low risk.
 8 transcript.)                                            8       MS. HOMER: Okay. Can we go off the record
 9     Q On the second page of this in the fifth full      9 for a split second?
 10 paragraph, the NPR story reports, quote, After         10      THE VIDEOGRAPHER: Please stand by. We are
 11 analyzing travel patterns, the TSA pulls               11 going off the record.
 12 intelligence from a number of sources, dash, state     12      (Off the record.)
 13 and local law enforcement, federal agencies, and       13      THE VIDEOGRAPHER: We are back on the
 14 international partners, and dash, before deciding to   14 record. The time is 1:20 p.m.
 15 assign an air marshal. The program is designed to      15 BY MS. HOMER:
 16 ignore people clearly traveling for business or to     16 Q Are Federal Air Marshals ever assigned a
 17 visit family and focus on potential threats, Bilello   17 special mission coverage for individuals listed on
 18 said. Who is the TSA official Bilello?                 18 the TSDB?
 19       MS. KONKOLY: Objection, scope. You can           19      MS. KONKOLY: Objection as to scope.
 20 answer if you know.                                    20 Objection insofar as the question calls for
 21 A Michael Bilello is our assistant                     21 information protected by SSI. You can answer that
 22 administrator for strategic communications and         22 to the extent that you can.
                                                     102                                                     104
 1 public affairs.                                         1     A I'm sorry. Can we take a break real quick
 2     Q Okay. Does this paragraph I just read             2 just so -- sorry.
 3 accurately reflect TSA policy?                          3       MS. KONKOLY: Well, if we'll break, we'll
 4       MS. KONKOLY: Objection insofar as the             4 come back and provide an answer.
 5 question calls for any information protected by SSI,    5       THE WITNESS: Yes. Sorry. Yeah.
 6 but you can answer.                                     6       THE VIDEOGRAPHER: Please stand by. We are
 7     A Yes. As I stated, it basically is                 7 going off the record. The time is 1:21 p.m.
 8 paraphrasing what I've stated previously in that TSA    8       (Off the record.)
 9 reviews current intelligence to identify individuals    9       THE VIDEOGRAPHER: We are back on the
 10 that present a higher risk and beginning in March      10 record. The time is 1:27 p.m.
 11 of 2018 have also been incorporated into the           11          (The Reporter read the record as
 12 assignment of Federal Air Marshals as part of their    12 follows: Are Federal Air Marshals ever assigned a
 13 risk-based security activities.                        13 special mission coverage for individuals listed on
 14 Q How does the TSA determine who people are            14 the TSDB?)
 15 that are, quote, clearly traveling for business or     15      MS. KONKOLY: And I'm going to again object
 16 to visit family, closed quote?                         16 as to scope and as to any SSI implicated in the
 17      MS. KONKOLY: I'm going to object on the           17 answer, but you can answer to the extent you can.
 18 basis of SSI and instruct the witness not to answer    18      THE WITNESS: They may be.
 19 that question.                                         19      MS. HOMER: Thank you.
 20 Q Does the TSA have a process for separating           20      MS. KONKOLY: And then lastly,
 21 out potential threats from individuals clearly         21 Ms. Froemling, did you want to offer clarification
 22 traveling for business or to visit family?             22 regarding your earlier testimony about the selection
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                     Transcript of Hao-y Tran Froemling, Designated Representative                      27 (105 to 108)

                                     Conducted on October 4, 2018
                                                  105                                                               107
 1 of Quiet Skies or rules-based matches for FAMS         1    CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
 2 special mission coverage?                              2           I, KATY M. ZAMORA, Registered Merit
                                                          3    Reporter, Certified Realtime Reporter, and Notary
 3        THE WITNESS: Yes. I believe the prior
                                                          4    Public, the officer before whom the foregoing
 4 question was are the FAMS automatically assigned to         deposition was taken, do hereby certify that the
                                                          5
 5 all flights with Quiet Skies rules-based passengers.   6    foregoing transcript is a true and correct record of
 6 What I want to clarify is as FAMS, Federal Air         7    the testimony given; that said testimony was taken
 7 Marshals are available they will be assigned for       8    by me stenographically and thereafter reduced to
 8 flights with Quiet Skies rules passengers.             9    typewriting under my supervision; that reading and
 9        MS. HOMER: Thank you. Did counsel have any      10   signing was not requested; and that I am neither
                                                          11   counsel for or related to, nor employed by any of
 10 other questions?
                                                          12   the parties to this case and have no interest,
 11       MS. KONKOLY: That's it.
                                                          13   financial or otherwise, in its outcome.
 12       THE VIDEOGRAPHER: All right. Please stand       14          IN WITNESS WHEREOF, I have hereunto set my
 13 by. This marks the end of the videotaped deposition   15   hand and affixed my notarial seal this 16th day of
 14 of Hao-y Tran Froemling. We are off the record at     16   October 2018.
 15 1:28 p.m.                                             17   My commission expires April 30, 2019.
 16       THE COURT REPORTER: Can I get your              18
 17 transcript order for the record?                      19
                                                          20   ________________________
 18       MS. MENSI: Yes. Can you process it normal
                                                          21   NOTARY PUBLIC IN AND FOR
 19 processing and then make it out to the CAIR Legal     22   THE DISTRICT OF COLUMBIA
 20 Fund.
 21       MS. KONKOLY: Regular delivery. Email it to
 22 me.
                                                  106
 1      (Off the record.)
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               Transcript of Hao-y Tran Froemling, Designated Representative
                               Conducted on October 4, 2018                              28
           A           49:2, 53:6,             affirmed                30:2, 30:8,
 abbas                 55:14, 56:14,           7:7                     45:12, 66:1,
 3:4, 6:19,            74:18, 76:1,            affixed                 77:15, 89:13,
 25:10, 25:14,         83:6, 84:4, 90:4        107:15                  89:20
 37:19, 38:2,          actually                after                   ago
 59:6                  56:20, 68:12,           46:3, 101:10            63:22
 able                  71:22, 78:4             again                   agree
 18:4, 93:12           add                     10:19, 20:22,           93:1
 about                 89:16, 90:11            22:12, 23:22,           ahead
 37:4, 37:6,           added                   30:1, 30:6,             19:14, 22:19,
 47:16, 49:6,          39:22, 40:3,            32:10, 32:16,           25:14, 80:11
 58:5, 63:4,           41:11, 46:9,            36:19, 46:1,            air
 73:3, 86:2,           95:14, 95:18,           49:10, 51:13,           8:17, 8:21,
 87:17, 97:17,         97:5, 97:14,            52:3, 55:19,            9:11, 9:18,
 98:19, 104:22         100:3                   58:2, 60:12,            10:4, 10:11,
 abroad                addition                61:17, 66:20,           10:14, 11:6,
 23:5, 23:7,           18:7, 26:4,             66:22, 67:5,            11:18, 15:19,
 75:20                 28:12                   67:11, 68:8,            34:13, 34:21,
 access                additional              68:11, 69:1,            57:10, 57:14,
 89:5                  14:16, 14:18            71:4, 71:6,             57:21, 58:6,
 accurately            address                 72:18, 73:20,           61:11, 62:4,
 102:3                 49:7                    74:1, 74:15,            63:14, 66:10,
 acting                addresses               79:6, 81:14,            84:15, 84:21,
 88:13                 32:14, 47:20            82:10, 86:22,           86:17, 91:12,
 actions               administration          90:7, 90:9,             91:19, 91:20,
                       4:16, 61:21,            93:4, 94:16,            92:2, 92:7,
 8:21, 11:15,                                  96:13, 98:1,            92:8, 92:16,
 14:21                 62:4
                       administrator           98:21, 100:3,           92:20, 93:3,
 activated                                     103:1, 104:15           93:8, 93:12,
 100:12                35:2, 35:9,
                       37:4, 38:6,             against                 93:14, 93:21,
 activities                                    18:1, 21:15,            94:1, 97:18,
 11:8, 11:12,          39:6, 46:5,
                       55:7, 55:8,             48:14                   98:18, 99:2,
 13:1, 13:16,                                  agencies                101:15, 102:12,
 14:4, 14:20,          55:16, 77:3,
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